Case 3:24-cv-03010-N-BT Documenti-1 Filed 12/02/24 Pagelof92 PagelID5

Exhibit 1
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INDEX OF ALL DOCUMENTS FILED IN STATE COURT ACTION,

Exhibit 1-A:
Exhibit 1-B:
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Exhibit 1-F:
Exhibit 1-G:
Exhibit 1-H:
Exhibit 1-I:

Exhibit 1-J:

Exhibit 1-K:
Exhibit 1-L:

Exhibit 1-M:

Exhibit 1-N:
Exhibit 1-O:

DALLAS COUNTY

Docket Sheet

October 25, 2024 — Plaintiff's Original Petition with Exhibits

October 25, 2024 — Civil Cover Sheet

October 31, 2024 — Citation to Capital One Financial Corporation

October 31, 2024 — Citation to Capital One, National Association

October 31, 2024 — Citation to Capital One Service LLC

November 5, 2024 — Return of Service of Capital One Service LLC
November 5, 2024 — Return of Service of Capital One, National Association
November 5, 2024 — Return of Service of Capital One Financial Corporation
November 7, 2024 — Plaintiff's Durable Power of Attorney

November 18, 2024 — Court Notice of Submission Setting on Dismissal
November 20, 2024 — Plaintiff’s Proposed Default Judgment

November 22, 2024 — Defendant Capital One, N.A.’s Answer

November 25, 2024 — Plaintiff's Motion to Compel Discovery

November 25, 2024 — Plaintiff’s Reply to Defendant Capital One, et al.’s Answer
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Exhibit 1-A
Case 3:24-cv-03010-N-BT Documenti-1 Filed 12/02/24

Case Information

Page 40f92 PagelD8

DC-24-18868 | ROBERT ALLEN BAUTISTA vs. CAPITAL ONE FINANCIAL CORPORATION, et al

Case Number Court

DC-24-18868 160th District Court

File Date Case Type

10/25/2024 CNTR CNSMR COM DEBT
Party

PLAINTIFF

BAUTISTA, ROBERT ALLEN

DEFENDANT
CAPITAL ONE FINANCIAL CORPORATION

DEFENDANT
CAPITAL ONE, NATIONAL ASSICIATION

DEFENDANT
CAPITAL ONE SERVICE, LLC

Judicial Officer
REDMOND, AIESHA
Case Status

OPEN

Active Attorneys
Pro Se

Active Attorneys

Lead Attorney
HERROLD, DAVID HENRY
Retained

Active Attorneys ¥
Lead Attorney

HERROLD, DAVID HENRY
Retained

Active Attorneys ¥

Lead Attorney

HERROLD, DAVID HENRY
Retained
Case 3:24-cv-03010-N-BT Documenti-1 Filed 12/02/24 Page5of92 PagelID9

Events and Hearings

10/25/2024 NEW CASE FILED (OCA) - CIVIL

10/25/2024 ORIGINAL PETITION v

ORIGINAL PETITION

10/25/2024 CASE FILING COVER SHEET v

CASE FILING COVER SHEET

10/29/2024 ISSUE CITATION v

ISSUE CITATION - CAPITAL ONE FINANCIAL CORPORATION
ISSUE CITATION - CAPITAL ONE, NATIONAL ASSOCIATION

ISSUE CITATION - CAPITAL ONE SERVICE, LLC

10/31/2024 CITATION v

Served
11/01/2024

Anticipated Server
ESERVE

Anticipated Method
Actual Server
OUT OF STATE

Returned

11/05/2024

Comment

CAPITAL ONE FINANCIAL CORPORATION

10/31/2024 CITATION

Served
11/01/2024

Anticipated Server
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CasensiédaeyQeQd0-N-BT Document1-1 Filed 12/02/24 Page6of92 PagelD 10

Actual Server
OUT OF STATE

Returned

11/05/2024

Comment

CAPITAL ONE, NATIONAL ASSOCIATION

10/31/2024 CITATION v
Served
11/01/2024

Anticipated Server
ESERVE

Anticipated Method
Actual Server
OUT OF STATE

Returned
11/05/2024
Comment

CAPITAL ONE SERVICE, LLC

11/05/2024 RETURN OF SERVICE v

EXECUTED CITATION - CAPITAL ONE SERVICE, LLC

Comment
EXECUTED CITATION - CAPITAL ONE SERVICE, LLC

11/05/2024 RETURN OF SERVICE v

EXECUTED CITATION - CAPITAL ONE, NATIONAL ASSOCIATION

Comment
EXECUTED CITATION - CAPITAL ONE, NATIONAL ASSOCIATION

11/05/2024 RETURN OF SERVICE v

EXECUTED CITATION - CAPITAL ONE FINANCIAL CORPORATION

Comment
EXECUTED CITATION - CAPITAL ONE FINANCIAL CORPORATION

11/07/2024 MISCELLANOUS EVENT v

DURABLE POWER OF ATTORNEY

Comment
DURABLE POWER OF ATTORNEY

11/20/2024 PROPOSED ORDER/JUDGMENT v
CasepreAoe¥Os040nN-Bbcmergcument 1-1 ~=Filed 12/02/24. Page 7of92 PagelD11

Comment
PROPOSED DEFAULT JUDGMENT

11/22/2024 ORIGINAL ANSWER - GENERAL DENIAL v

DEFENDANT CAPITAL ONE, N.A.'S ANSWER

11/25/2024 MOTION - COMPEL v

MOTION - COMPEL

11/25/2024 RESPONSE v

TO DEFENDANT CAPITAL ONE, ET AL'S ANSWER

Comment
TO DEFENDANT CAPITAL ONE, ET AL'S ANSWER

12/31/2024 DISMISSAL FOR WANT OF PROSECUTION ¥

160th Dismissal

Judicial Officer
REDMOND, AIESHA

Hearing Time
3:00 PM

Financial

BAUTISTA, ROBERT ALLEN

Total Financial Assessment $374.00
Total Payments and Credits $374.00
10/25/2024 Transaction $350.00
Assessment
10/25/2024 PAYMENT (CASE Receipt # 74783- BAUTISTA, ROBERT ($350.00)
FEES) 2024-DCLK ALLEN
10/29/2024 Transaction $24.00

Assessment
Case 3:24-cv-03010-N-BT Documenti-1 — Filed 12/02/24 rage 8 of 92 Ragelo 12

10/29/2024 PAYMENT (CASE Receipt # 75539- BAUTISTA, ROBERT ($2
FEES) 2024-DCLK ALLEN
Documents

ORIGINAL PETITION

CASE FILING COVER SHEET

ISSUE CITATION - CAPITAL ONE FINANCIAL CORPORATION
ISSUE CITATION - CAPITAL ONE, NATIONAL ASSOCIATION
ISSUE CITATION - CAPITAL ONE SERVICE, LLC

EXECUTED CITATION - CAPITAL ONE SERVICE, LLC
EXECUTED CITATION - CAPITAL ONE, NATIONAL ASSOCIATION
EXECUTED CITATION - CAPITAL ONE FINANCIAL CORPORATION
DURABLE POWER OF ATTORNEY

160th Dismissal

PROPOSED DEFAULT JUDGMENT

DEFENDANT CAPITAL ONE, N.A.'S ANSWER

MOTION - COMPEL

TO DEFENDANT CAPITAL ONE, ET AL'S ANSWER
Case 3:24-cv-03010-N-BT Documenti-1 Filed 12/02/24 PageQ9of92 PagelID13

Exhibit 1-B
3 CIT/ESERVE

Case 3:24-cv-03010-N-BT Poca en E Ele Page 100f92 PagelD 14

IN THE DISTRICT COURT OF DALLAS COUNTY, TEXAS

ROBERT ALLEN BAUTISTA®/ATTORNEY-IN-FACT a
%

PO BOX 131385 2
DALLAS, TX 75313-1385 Lp
RBRTBTST16@GMAIL.COM @ a ts
702-501-9639 APA

Plaintiff, > 4

Vv. % “Ae oS

CAPITAL ONE FINANCIAL CORPORATION 878185453 % o
CAPITAL ONE, NATIONAL ASSOCIATION 006947543

CAPITAL ONE SERVICES, LLC 837630326 Ky.

1680 Capital One Dr. L60

McLean, VA 22102-3407 t h
703-720-1000 / 800-655-2265

Defendants.

CIVIL ACTION NO. [. _ |

PETITION FOR FAIR ACCESS TO FINANCIAL SERVICES, SECURITIES FRAUD, AND
MISREPRESENTATION

TO THE HONORABLE JUDGE OF SAID COURT:

COMES NOW, Plaintiff ROBERT ALLEN BAUTISTA®/ATTORNEY-IN-FACT, and files this Petition
against Defendants Capital One Financial Corporation, Capital One, National Association, and
Capital One Services, LLC, and in support thereof, would respectfully show the Court the
following:

1. PARTIES

1. Plaintiff: ROBERT ALLEN BAUTISTA®/ATTORNEY-IN-FACT, a man domiciling in Dallas
County, Texas.

2. Defendants:

o Capital One Financial Corporation, a corporation with its principal place of
business at 1680 Capital One Dr., McLean, VA 22102-3407.

o Capital One, National Association, a national banking association with its
principal place of business at 1680 Capital One Dr., McLean, VA 22102-3407.

o Capital One Services, LLC, a limited liability company with its principal place of
business at 1680 Capital One Dr., McLean, VA 22102-3407.

I1. JURISDICTION AND VENUE
Case 3:24-cv-03010-N-BT Documenti-1 Filed 12/02/24 Pagei1lof92 PagelID15

3. This Court has jurisdiction over this matter pursuant to Tex. Gov’t Code § 24.007 as it
involves a civil action for the protection of statutory rights.

4. Venue is proper in Dallas County, Texas, as the events giving rise to this claim occurred
in this jurisdiction.

Hl. FACTUAL BACKGROUND

5. Plaintiff applied for financial services from Defendants and was subjected to
discriminatory evaluation criteria based on ambiguous undisclosed reasons.

6. Defendants’ evaluation process relied on subjective factors rather than objective
creditworthiness metrics.

7. Plaintiff was denied a loan without a clear, written explanation, violating the Fair Credit
Reporting Act (FCRA), 15 U.S.C. § 1681 et seq.

8. Defendants provided misleading information regarding the terms and risks associated
with financial products, constituting securities fraud.

9. Plaintiff’s credit report was inaccurately assessed under the Fair and Accurate Credit
Transactions Act (FACTA), 15 U.S.C. § 1681c.

10. Misrepresentations made by Defendants regarding the safety of negotiable
instruments further exacerbated financial harm.

11. Defendants’ practices created a situation resembling peonage, coercing Plaintiff into

unfavorable agreements under threat of financial exclusion.

IV. LEGAL FRAMEWORK

12.

Defendants’ actions violate several statutes, including:

Equal Credit Opportunity Act (ECOA), 15 U.S.C. § 1691 et seq. - Prohibiting
discrimination in credit transactions.

Fair Housing Act (FHA), 42 U.S.C. § 3601 et seq. - Prohibiting discriminatory lending
practices.

Texas Fair Lending Act, Texas Finance Code § 343.001 - Mandating fair access to credit.
FCRA, 15 U.S.C. § 1681 et seq. - Governing accurate reporting and disclosures.
FACTA, 15 U.S.C. § 1681c - Protecting consumer rights regarding credit information.

Texas Securities Act, Tex. Rev. Civ. Stat. Ann. art. 581-1 et seq. - Prohibiting fraudulent
practices in the sale of securities.

Securities Exchange Act of 1934, 15 U.S.C. § 78j(b) - Prohibiting fraud in the purchase or
sale of securities.

Texas Deceptive Trade Practices Act (DTPA), Texas Business and Commerce Code §
17.41 et seq. - Protecting consumers from misleading acts.
Case 3:24-cv-03010-N-BT Documenti-1 Filed 12/02/24 Page12of92 PagelID 16

V. CAUSE OF ACTION

13. Defendants’ actions constitute violations of federal and state statutes, leading to harm

through discriminatory practices, securities fraud, and misrepresentation.

14. Asa direct result, Plaintiff has suffered emotional distress, financial loss, and damage

to creditworthiness.

VI. PRAYER FOR RELIEF

WHEREFORE, PREMISES CONSIDERED, Plaintiff respectfully requests that this Court grant the
following relief:

1.

4.
5.

A declaration that Defendants’ practices are unlawful and violate federal and state
laws.

An order requiring Defendants to implement fair, objective, and transparent criteria for
evaluating applications for financial services.

Damages for emotional distress and financial losses incurred as a result of
Defendants’ actions.

Reasonable attorney’s fees and costs of this action.

Any other relief the Court deems just and proper.

VII. JURY DEMAND

Plaintiff demands a trial by jury on all issues so triable.

DATED this 24" Day of October, 2024.

Respectfully submitted,

ROBERT ALLEN BAUTISTA®/ATTORNEY-IN-FACT
[Your Signature]

PO BOX 131385

DALLAS, TX 75313-1385

RBRTBTST16@GMAIL.COM
702-501-9639 WITHOUT RECOURSE

WITHOUT PREJUDICE
PAY TO THE ORDER OF

RVUSEmMi ALLEN BAUTISTA
KAA ns EAL

Robert Allen Bautista/attorney-in-fact

Case 3:24-cv-03010-N-BT Document 1-1

Filed 12/02/24 Page 13 of 92

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@ Compiete items 1, 2, and 3.
@ Print your name and address on the reverse
so that we can return the card to you.

@ Attach this card to the back of the mailpiece,
or on the front if space permits.

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( Agent
CI Addressee

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CITY of ee
716-05/4

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___ 2. Article Number (Transfer from service label)
9589 O71L0 Se70 1132 2915 O5

« PS Form 381 1, July 2020 PSN 7530-02-000-9053

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PagelD 17
Case 3:24- -N-BT Document1-1 Filed 12/02/24 Page14of92 PagelD 18
2 P.O. Box 30277
Capital salt Lake City, UT 84130-0277 Ext HE\T 6

October 15, 2024

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ROBERT BAUTISTA 000012936
PO BOX 131385 as03
DALLAS, TX 75313

Re: Account ending in 5679
Creditor: Capital One N.A.

Dear ROBERT BAUTISTA,

We are closing this account because activity on this or another account is not consistent with our
expectations for account usage and violates the Capital One Customer Agreement.

Please stop using this account immediately and destroy any cards and checks associated with it.
Also, you should update any recurring payments you have set up using this account, such as gym
memberships, subscriptions to online streaming services, etc.

You are still responsible for paying the full amount of any remaining account balance and you'll
continue to receive billing statements until the balance reaches zero.

Sincerely,

Capital One

EQUAL CREDIT OPPORTUNITY ACT

The federal Equal Credit Opportunity Act prohibits creditors from discriminating against credit
applicants on the basis of race, color, religion, national origin, sex, marital status, age (provided the
applicant has the capacity to enter into a binding contract); because all or part of the applicant's
income derives from any public assitance program; or because the applicant has in good faith
exercised any right under the Consumer Credit Protection Act. The federal agency that administers
compliance with this law concerning this creditor is the Bureau of Consumer Financial Protection,
1700 G Street NW, Washington, DC 20006.

© 2024 Capital One. Capital One is a federally registered service mark.

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o » P.O. Box 31293 ty
Capital One Sat Lake City, UT 84131-1293 DU &

October 14, 2024

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ROBERT BAUTISTA 000002771
PO BOX 131385 uses
DALLAS, TX 75313

Re: Account ending in 5679
Case Number: 240930203880777

Dear ROBERT BAUTISTA,

Thanks for contacting us about your Capital One® account. We appreciate the opportunity to address
your inquiry regarding the validity of this account.

According to our records, We received your application by Internet on 06/22/2022 and your account

was opened on 06/22/2022. The last charge billed to your account was on 09/20/2024 in the amount
of $9.00. Your last payment received on this account was on 09/11/2024 in the amount of $120.45.

We have placed a disagreement code with a resolution of dispute on your credit file to the major
credit reporting agencies.

The account was opened with a valid contract between you and Capital One.

For more information about credit bureau reporting, please see the Credit Bureau Frequently Asked
Questions on our website, www.capitalone com/credit-cards/faq.

Sincerely,

Capital One Credit Bureau Resolutions

This letter is for informational purposes only and is not an attempt to collect a debt.

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Case 3:24-cv-03010-N-BT Documenti-1 Filed 12/02/24 Page16of92 PagelD 20

Exhibit 1-C
Case 3:24-cv-03010-N-BT

CAUSE NUMBER (FOR CLERK USE ONLY):

CIVIL CASE INFORMATION SHEET

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Page 17 of 9

srven_ ROBERA AVEN Raut SA Vv. CAP itAL ONE

(e.g., John Smith v. All American Insurance Co; In re Mary Ann Jones; In the Matter of the Estate of George Jackson)

A civil case information sheet must be completed and submitted when an original petition or application is filed to initiate a new civil, family law, probate, or mental

health case or when a post-judgment petition for modification or motion for enforcement is filed in a family law case. The information should be the best avag

ble at

the time of filing. =a Py

1. Contact information for person completing case information sheet: Names of parties in case: Person or entity ca fopleting shorts: |
L]Attorngffor Plaintiff/Patitioner “Ss A

Name: Email: Plaintiff(s)/Petitioner(s): Pro Se ipRetitioner> <*
[CTitle 1V-TAtbeuc y* “¢

ROBERT ALLEN BAUTISTA@YATTORNEY-IN-FACT RBRTBTST16@GMAIL.COM ROBERT ALLEN BAUTISTA®@/AGENT (other: TF

Address: Telephone: ROBERT ALLEN BAUTISTA®/ATTORNEY-IN-FACT e } :
Additional Partics ifffghild Support Casé;

PO BPX 131385 702-501-9639 ~

Defendant(s)/Respondent(s): Custodial Parent:
City/State/Zip: Fax:

CAPITAL ONE FINANCIAL CORPORATION 878185453

DALLAS TX 75313-1385 702-729-3010
w ITHoot RECOURSE Ww rHOot PEE KCE
Signature: By: RE age State Bar No:

Non-Custodial Parent:
CAPITAL ONE, NATIONAL ASSOCIATION 006947543

CAPITAL ONE SERVICES, LLC 837630326

[Rlecttlen Baetst Aone 1a-fet

Presumed Father:

[Attach additional page as necessary to list all parties]

||_2. Indicate case type. or identify the most important issue in the case (select only 1):

Civil Family Law
Post-judgment Actions
Contract Injury or Damage Real Property Marriage Relationship (non-Title IV-D)
Debt/Contract LJAssault/Battery (Eminent Domain/ (Annulment (CJEnforeement
(CJConsumer/DTPA CiConstruction Condemnation (Declare Marriage Void C]Modification—Custody
(Debt/Contract (Defamation Partition Divorce C)Modification—Other
{@)Fraud/Misrepresentation Malpractice Ciouict Title (CIWith Children Title IV-D
(Other Debt/Contract: LJAccounting LTrespass to Try Title CINo Children (JEnforcement/Modification
Legal (Other Property: [JPaternity
Foreclosure CMcdical CReciprocals (UIFSA)
(Home Equity—Expedited (Other Professional C)support Order
(Other Foreclosure Liability:
(Franchise Related to Criminal |
CInsurance (Motor Vehicle Accident Matters Other Family Law Parent-Child Relationship
(Landlord/Tenant (Premises CJExpunction (JEnforce Foreign LJAdoption/Adoption with
(Non-Competition Product Liability (Judgment Nisi Judgment Termination
CPartnership DAsbestos/Silica (Non-Disclosure (JHabeas Corpus (C1 Child Protection
(Other Contract: (Other Product Liability ()Seizure/Forfeiture (Name Change (child Support
List Product: (Writ of Habeas Corpus— (Protective Order L1Custody or Visitation
Pre-indictment L)Removal of Disabilities CGestational Parenting
(Other Injury or Damage: (Other: of Minority (Grandparent Access
(CJOther: (JParentage/Paternity
(Termination of Parental
Employment Other Civil Homes cine
(Discrimination (Administrative Appeal CJLawyer Discipline eee
CRctaliation (J Antitrust/Unfair CJPerpctuate Testimony
OoTermination Competition CSecurities/Stock
(JWorkers’ Compensation (Code Violations CTortious Interference
(Other Employment: (Foreign Judgment (Cother:
(intellectual Property
Tax Probate & Mental Health
LJTax Appraisal Probate/Wills/Intestate Administration {]Guardianship—Adult
[LTax Delinquency (_]Dependent Administration (JGuardianship—Minor
(Other Tax (_]Independent Administration (JMental Health

(Other Estate Proceedings

LJother:

3. Indicate procedure or remedy, if applicable (may select more than I):

MArbitration-related
CJAttachment
CIBill of Review
CiCertiorari

CClass Action

LJAppeal from Municipal or Justice Court

Declaratory Judgment [™)Prejudgment Remedy
(1Garnishment (Protective Order
LJInterpleader CiReceiver
License C)Sequestration
(Mandamus (JTemporary Restraining Order/Injunction
(Post-judgment CTurnover

4, Indicate damages sought (do not select if it is a family law case):

Mover $1,000,000

[_]Less than $100,000, including damages of any kind, penalties, costs, expenses, pre-judgment interest, and attorney fees
(Less than $100,000 and non-monetary relief
LJOver $100, 000 but not more than $200,000

(Over $200,000 but not more than $1,000,000

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Case 3:24-cv-03010-N-BT Documenti-1 Filed 12/02/24 Page18o0f92 PagelD 22

Exhibit 1-D
PagelD 23

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Case 3:24-cv-03010-N-BT Document1-1 Filed 12/02/24 Page 21of92 PagelD 25

Exhibit 1-E
PagelD 26

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Case 3:24-cvj03010-N-BT | Docfment 1

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Case 3:24-cv-03010-N-B¥
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Exhibit 1-F
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Case 3:24-cvj03010-N-BT | Docfment 1

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Case 3:24-cv-03010-N-B¥
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Exhibit 1-G
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| am certified under order of the Judicial Branch Certification Commission to serve process, including citations in Texas. |
am not a party to or interested in the outcome of this jawsuit. My information: identification number, birth date, address,
and certification expiration date appear below. | received and delivered the Specified Documents to Defendant as stated
herein. The following information is based on personal knowledge.

On 11/01/2024 at 1:14 PM: | served Citation and Petition upon CAPITAL ONE SERVICE, LLC c/o CORPORATION
SERVICE COMPANY, REGISTERED AGENT by delivering 1 true and correct copy(ies) thereof, with CAPITAL ONE
SERVICE, LLC c/o CORPORATION SERVICE COMPANY, REGISTERED AGENT, ! delivered the documents to an
individual with identity confirmed by subject saying yes when named. The individual accepted service with direct
delivery. The individual appeared to be a blonde-haired white female contact 55-65 years of age, 5'6"-5'8" tall and
weighing 160-180 Ibs with glasses. The individual accepting service was Reneé Nordquist (Intake Specialist) at
100 Shockoe Slip Fl 2, Richmond, VA 23219.

My name is: Jody Ashworth. My date of birth is: 10/26/1965

My address is: 513 Huntington Rd, Colonial Heights, VA 23834, USA.
null

Per U.S. Code § 1746, | declare under penalty of perjury under the laws of the United States of America that the foregoing is true and
correct.

Declaration executed in Richmond (City) Virginia county, TX.
Cty Cohn d, 11/04/2024
Jody Ashworth Date Executed
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Exhibit 1-H
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Documents Service Fee:

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| am certified under order of the Judicial Branch Certification Commission to serve process, including citations in Texas. |
am not a party to or interested in the outcome of this lawsuit. My information: identification-number, birth date, address,
and certification expiration date appear below. | received and delivered the Specified Documents to Defendant as stated
herein. The following information is based on personal knowledge.

On 11/01/2024 at 1:18 PM: | served Citation and Petition upon CAPITAL ONE, NATIONAL ASSOCIATION c/o
CORPORATION SERVICE COMPANY, REGISTERED AGENT by delivering 1 true and correct copy(ies) thereof, with
CAPITAL ONE, NATIONAL ASSOCIATION c/o CORPORATION SERVICE COMPANY, REGISTERED AGENT, |
delivered the documents to CORPORATION SERVICE COMPANY, REGISTERED AGENT with identity confirmed
by subject saying yes when named. The individual accepted service with direct delivery. The individual appeared
to be a blonde-haired white female contact 55-65 years of age, 5°6"-5'8" tall and weighing 160-180 Ibs with
glasses. The individual accepting service was Rene Nordquist (Intake Specialist) at 100 Shockoe Slip Fi 2,
Richmond, VA 23219.

My name is: Jody Ashworth. My date of birth is: 10/26/1965
My address ts: 513 Huntington Rd, Colonial Heights, VA 23834, USA.
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Per U.S. Code § 1746, | declare under penalty of perjury under the laws of the United States of America that the foregoing is true and
correct.

Declaration executed in Richmond (City), VA 23219 county, TX.
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| am certified under order of the Judicial Branch Certification Commission to serve process, including citations in Texas. |
am not a party to.or interested in the outcome of this lawsuit. My information: identification number, birth date, address,
and certification expiration date appear below. | received and delivered the Specified Documents to Defendant as stated
herein. The following information is based on personal knowledge.

On 11/01/2024 at 1:14 PM: | served Citation and Petition upon CAPITAL ONE FINANCIAL CORPORATION c/o
CORPORATION SERVICE COMPANY, REGISTERED AGENT by delivering 1 true and correct copy(ies) thereof, with
CAPITAL ONE FINANCIAL CORPORATION c/o CORPORATION SERVICE COMPANY, REGISTERED AGENT, |
delivered the documents to CORPORATION SERVICE COMPANY, REGISTERED: AGENT with identity confirmed
‘by subject saying yes when named. The individual accepted service with direct delivery. The individual appeared
to be a blonde-haired white female contact 55-65 years of age, 5’6"-5'8" tall and weighing 160-180 [bs with

glasses. The individual accepting service was Rene Nordquist (Intake Specialist) at 100 Shockoe Slip FI 2,
Richmond, VA 23219.

My name Is: Jody Ashworth. My date of birth Is: 10/26/1965
My address is: 513 Huntington Rd, Colonial Heights, VA 23834, USA.
null

Per U.S. Code § 1746, | declare under penalty of perjury under the laws of the United States of America that the foregoing is true and
correct.

Declaration executed in Richmond (City), VA 23219 county, TX.

Cet Cub ek 11/01/2024

Jody Ashworth Date Executed

Ref DC-24-18868 Tracking # 0147687790

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txefile@abclegal.com

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Exhibit 1-J
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DALLAS, TX 75313 Leys EPULY
702-501-9639
RBRTBTST16@GMAIL.COM

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Section 1: Definitions

Important note: these definitions apply both within the agent/principal relationship and without

Client:

Someone who is being assisted to present themselves. This term indicates absolutely no degradation of
character or ability and simply means someone who is getting assistance while simultaneously
educating themselves in law and statute. NO CLIENT, WITHIN THIS AGREEMENT, IS A CHILD,

INFANT, RETARDED OR OF UNSOUND MIND.

Ens legis:
A creature of the law; an artificial being, as contrasted with a natural person. Applied to corporations,
considered as deriving their existence entirely from the law. -Black’s Law 4th Edition

Novation:
Defined as a change in a contract, partial or full.

Signature:
Confirming agreement or acceptance. If involving a negotiable instrument, it would be an indorsement.

Indorsement:
Any writing placed on a negotiable instrument for the purpose of assigning, transferring, or redeeming
the security or granting a power to assign, transfer, or redeem it.

The default signature or indorsement for all documents WILL NEVER BE A BLANK
INDORSEMENT (unless explicitly indorsed with “Pay to the order of: bearer” and also has an allonge
describing why it is being indorsed that way). All previous, current and future indorsements are now
defaulted to:
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WITHOUT RECOURSE
WITHOUT PREJUDICE
Pay to the order of:
ROBERT ALLEN BAUTISTA®
By: /s/ Robert Allen Bautista/agent

Robert Allen Bautista/attorney-in-fact

Artificial entity:

An estate, company, association, partnership, corporation, trust or other entity indicating a collective
body of individuals. These bodies are “persons” if they operate entirely and completely within the
confines of the definitions of “nation” and “peace,” which are both locatable in this dictionary of
terms. But the word “person” will no longer be used and, in the interest of creating clear contracts, the
word “entity” will be used when not a man or woman.

Autograph:

A cursive writing, using a pen and paper, unique to each living man or woman, of some sort of artistic
symbolism that proves their identity due to the unique style in which it is written. An autograph is
never on behalf of an artificial entity and is always a representation of the living man or woman who

made it.

De facto:
The corporate world that is under the Crown of England. The entire structure that was created under

the Crown and is offered as a structure for Commerce. People can voluntarily contract into this system
as they want in an effort to have a pre-built structure that they may plug into for ease-of-use, support,
etc.

De jure:

The non-corporate world that has nothing to do with the statutes, rules and boundaries set up by the
Crown. Operating entirely in a new space where you create your own rules and boundaries. Your
“Codes” are created by you and used to contract as you see fit. The de jure is governed by Common
Law which is simply don’t hurt people or their property and be transparent in your offers and contracts.
The de jure is where international law occurs and is based entirely on nation-to-nation diplomatic
relations.

“person,” “human being” and “individual”:

These words/terms are defined as: a nothingness which produces a somethingness. The seat of
creativity. This is not the brain, nor the body, but is a potential consciousness that has no space, no
wavelength, no mass and no location. This essence contains the decisions and definitions associated
with interaction, identity, ethics, morals and integrity.

Ethics:
What the individual considers right/wrong (and why).

Morals:
The spoken AND UNSPOKEN ideas of what a group considers right/wrong (and why).

Banking:

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The operation of electrical energy translated to the world of money and finance. The creation, flow and
use of any form of energy that is used as the intermediary of trade or commerce. Any item that would
be used as a mode of exchange and that follows all the rules of physics as regards to flow and energy.
The highest form of “banker,” in the literal sense, would be an electrical engineer. Banking in the de
facto is accomplished by the creation of credit by exchanging a promissory note for Federal Reserve
Notes as per the Federal Reserve Act, Section 16, Part 2 - via the Federal Reserve Window. These
credit exchanges are done by a lack of disclosure to the indorsee, thus causing the indorsee to sign
using a blank indorsement (meaning an unconditional indorsement that releases the valuable security
to the financial institution entirely - essentially “gifting” the collateral security to be exchanged and
payable to the banking institution). Banking in the de jure is the coining and handling of silver and
gold COINS in an effort to create a stable and functional exchange medium.

Bank:

In the de facto it would be any individual that converts one negotiable instrument into another or
creates notes and bills. In the de jure it would be the storing, safe keeping, transferring and exchanging
of gold/silver coins. No licenses or “approval” is needed to be a bank and every individual person IS a
bank, by definition, in the de facto. Anyone who can promise that some amount will be paid in the
future is, by definition, a bank.

Note/instrument/negotiable instrument/security/bond:
An unconditional promise to pay (promissory note) or an unconditional order to pay (bill of exchange).
“Bill” is a shortening of “bill of exchange” and “note” is a shortening of “promissory note”

Payment:
This definition will defer to Black’s Law 4th Edition: “The fulfillment of a promise, or the
performance of an agreement.”

Discharge/setoff:
The indorsement and return of a negotiable instrument, approving it for exchange at the Federal
Reserve Discount Window.

Limited liability:

The degradation of personal power by assuming that there are problems that could pop up that you
would be incapable of handling. A shrinking of personal confidence that stems from a person
committing acts that they deem worthy of shame or guilt. Personal shrinkage.

Problems:

The normal idea of problems is “something of which is considered pesky, unwanted, difficult and
unappreciated. Something of which a person generally would rather not have.” This definition puts all
the power of the situation into the problem itself. The new definition of “problem” is: “that of which
gives excitement and interest to a story. The element of a story that is considered and defined, entirely
out of the free will of the person, to be something unwanted. The “problem” is the element of which all
adventures are born. The resolution of a “problem” is the entire structure of a journey.”

Consideration:

Defined as: something given of value that all parties consider of value and continue to consider of
value throughout the entire life of the contract or agreement. If either party decides, during the life of a
contract, that consideration is no longer equal, then that contract can be instantaneously canceled from

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that moment. Fraud vitiates all contracts from their inception and acts as though a contract never
existed to begin with.

Fraud:

Any attempt to create illusion, delusion, vagueness or over-complexity in an effort to confuse or
reduce the ability to perceive or understand something. THE HIGHEST LEVEL OF FRAUD IS THE
ALTERATION OF DEFINITIONS OF WORDS OR TERMS. All men and all women deserve to live
a life of honest and transparent dealings.

Understand/under stand/under-stand:

To conceptually copy information into your own mind, contribute to it (invest in it) in an effort to
make it your own, then be able to apply it in the physical world to the product of an effective effect.
This definition explicitly negates any idea that these words may be used to trick someone into granting
dominion or power over them.

Conceptually:

To have a basic idea in the mind that comes across almost as the idea of “an understanding in the form
of energy” - meaning having so much comprehension of some particular word or thing that you can get
the feeling in your mind that you do not even need words or symbols to explain the ideas. A conceptual
understanding of something may even leave the person saying “I know what it is, I simply can’t put it
into words.” The ideas are devoid of having to use the “crutch” of other words or symbols. It is a full
immersion into an idea or term that feels almost as if you are the source of the definition of the word or
idea itself. You can “feel” the definition. YOU ARE THE DEFINITION.

Definition:

The exact, agreed-upon boundaries of the meaning of a series of symbols, behavior, or anything else. A
definition could be entirely unknown or mistaken, but an “incorrect definition” would be the largest
aspect that this section should clarify. An “incorrect definition” would be a meaning that is either too
narrow or too wide, too simple or too complex, too vague or too specific. A definition is the contract
associated with the meaning of the word, idea, phrase, etc. The source of credit and law, which is the
well-intentioned inhabitant or contributing member of a group, has the highest rank in terms of the
creation, clarification or changing of definitions. Definitions are living, breathing things and are the
most important aspect to all contracts and communication. VAGUE OR OVER-COMPLICATED
DEFINITIONS WILL BE VIEWED AND ASSUMED TO BE AN ATTEMPT TO DECEIVE AND
WILL BE CLASSIFIED AS FRAUD.

Terminal:

In order to understand banking, the idea of a terminal must be understood. This term comes from the
terminology used in batteries and electricity. A terminal is a person who is effectively (or potentially)
exchanging goods and/or services in a way that contributes to building a society or a market.

Market:

A group of people, small or large, that is exchanging goods and services in an effort to make life more
exciting, more interesting, easier, etc. The basis of legality of all market transactions is found in the
idea of consent. “Harmful” goods and services may be offered legally as long as all parties in the
transaction are consenting and that transaction or activity does not encroach into the freedoms of
another person who may not agree with what is happening.

Consent:
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Understanding, as defined in this definitions section, of the contract or agreement in question. This
understanding is then mixed with explicit agreement. Explicit agreement is important because
assuming agreement or consent is quite dangerous. Agreement and consent should be explicit and
“tacit consent” or “consent due to acquiescence” is essentially rape in commerce. Involuntary servitude
is entirely illegal, but at the same time... not responding to an important concern is irresponsible.
There is a fine line between the two that must be walked.

Rape:
Any forced contract that did not have explicit understanding and consent at the inception and
throughout the entire duration of the contract. Anything that could be considered involuntary servitude,

forced labor, enticement into slavery, etc.

Debtor:

A debtor is someone who owes a true negative in an agreement or contract where they have received
true value and consideration but have not reciprocated that consideration to a sufficient point for both
parties (within reason). A debtor cannot be a debtor if they did not consciously and expressly involve
themselves in the contract to begin with. Anyone who has unknowingly signed away a valuable
negotiable instrument using a blank indorsement would NOT be classified as a debtor due to there
having been valuable consideration already manufactured and given.

Creditor:

The indorsee of any promissory note or bill of exchange. Any successful attempt to trick, whether
through nondisclosure or active displacement, an indorsee into doing a blank indorsement on any
security, without valuable exchange in return, will be charged with purloining those instruments.

Truth:
The information that, when exposed and understood, eliminates all negative conditions. For example:
negative emotions, guilt, shame, stupidity, hate, etc.

Guilt:
A feeling of degradation that stems from someone else effectively persuading you that your actions
have directly harmed them, others or yourself.

Shame:

Active self-degradation that stems from believing that your actions harm or degrade others. This is
only possible due to the collective previous persuasions of others that you have or can hurt them. It is
the idea of “being careful” taken to the level of absurdity.

Degrade:
To lower one’s value or perceived value.

Value:

The perception of supply versus demand. Something that “everyone wants” that no one can have
would have the highest perceived value. Value is entirely calculated through the nature of humans and
their interest in making life an interesting game.

Freedom:
A condition that is the product of having a vast amount more truth than lies on any given subject,
mixed with being devoid of guilt and shame on that particular subject. The correct definitions for

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words is the most important aspect of freedom (the highest form of freedom is redefining all words and
symbols, at will, on all contracts).

Admiration:

The ability to appreciate anyone or anything for what they are and to enjoy their flaws and their
beauties as nothing more than a creation of expression assumed to be entirely within their will. This
includes permitting someone to destroy their life as they see fit, as long as that destruction does not
harm or damage others.

“State,” “state,” and “STATE”:

“State” and “STATE” refer to corporation fakes that are located in the District of Columbia (they are
listed on Dun and Bradstreet as businesses). “state” means the same as “nation” and defers to the
definition below. From now on, any usage of the 3 variations of state will default to an unincorporated
zone unless explicitly described as a business located in the District of Columbia.

State government is the highest form of government available and is always held by the people who
inhabit that state, even if there is no official body or office of government activity. Each state is legally
a separate country to one another in law. The sheriff is responsible for enforcing laws and handling
disputes in the field and his ultimate purpose is “to handle the surface manifestations of society.”
Whereas the courts then take the surface manifestations of society and dig deeper in an effort to
permanently address difficulties in the society or culture. The purpose of a judge or court is “to dig
deeper into the surface manifestations of society in an effort to find the source of disputes and
eliminate their unnecessary manufacture.”

Any group of individuals working together that is at peace with themselves and share tranquility and
enlightenment with other groups would be officially defined as a state. “State” and “nation” essentially
mean the same thing.

Body Politic:
State or nation or public associations, -Black’s Law 4th Edition

Society:

An association or company of persons (generally unincorporated) united together by mutual consent, in
order to deliberate, determine, and act jointly for some common purpose. In a wider sense, the
community or public; the people in general. -Black’s Law 4th Edition

Nation:

“An Independent body politic; a society of men united together for the purpose of promoting their
mutual safety and advantage by the joint efforts of their combined strength. But every combination of
men who govern themselves independently of all others will not be considered a nation. A body of
pirates, for example, who govern themselves, are not a nation. To constitute a nation, another
ingredient is required. The body thus formed must respect other nations in general, and each of their
members in particular. Such a society has her affairs and her interests; she deliberates and takes
resolutions in common, thus becoming a moral person, who possesses an understanding and will
peculiar to herself, and is susceptible of obligations and rights.” -Vattel, Prelim. Ill, 2; 5 Pet. (U. S.) 52.
See 1 Idaho (N. S.) 612.

The District of Columbia (“Washington D.C.”):
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A for-profit private corporation that is foreign to all the individual states. The purpose of this
corporation is to SERVE THE STATES (the 50 unincorporated states as well as any other nations or
states in the unincorporated zone) in an effort to help with state-to-state communication, commerce,
etc. They do not have the ability to govern outside of their tiny ten-square mile sandbox. They are
essentially a private contractor that is employed to enhance interstate activity. They can be fired no
differently than a plumber or carpenter if any individual state decides to do so. Each individual state is
contracted into this corporation as a request for assistance. The District of Columbia is not allowed to
use any trickery to describe itself, such as the term “United States.” Any attempt to deceive will be
considered fraud or treason and will be treated accordingly. The primary purpose for Washington DC
is “to create a prosperous country by enhancing that which is creating abundance and destroying or
eliminating that which is creating scarcity. To ensure that the Constitution of the original non-
incorporated America is adhered to by ensuring its application in interstate dealings. To assist each and
every state with any scarcities they may encounter.”

Money:

Gold and/or silver coins. Without gold and/or silver coins involved in a transaction, there is no
negative or positive gain in the real world. There can only be a false illusion of positive or negative
gain. “Profit and loss” can only be computed through the exchange of gold/silver coins. Any
commercial activity in the de facto that is not exchanging silver and gold coins is, by definition, a
“non-profit activity.”

United States:

The original states of the Republic being referred to as a collective. The “United States” is not, in
itself, a country. Each individual state is a country, by law. This definition specifically and explicitly
negates the definition found in 28 USC 3002(15), as well as the description found in UCC 9-307(h).
Any de facto corporation found using the term “United States” will automatically be changed to “only
and explicitly the District of Columbia and its territories.” The “Federal corporation” does not have
any jurisdiction in the 50 individual unincorporated states of America (or any additional states or
nations in those areas) and this term being used is very heavy fraud that very few people know about.
Any use of this definition will be assumed that the person using it does not know this definition and the
prosecution of the use of this term will need EXTENSIVE levels of evidence that proves INTENT.
This term is the core aspect of the difficulties in our glorious country. Assumption that the use of this
term is of ill-will should NOT be done, as all assumptions should be a lack of comprehension of this
most deadly term.

Intent:

"Intent" expresses mental action at its most advanced point, or as it actually accompanies an outward,
corporal [of or involving the body] act which has been determined on. Intent shows the presence of
will in the act which consummates a crime. It is the exercise of intelligent will, the mind being fully
aware of the nature and consequences of the act which is about to be done, and with such knowledge,
and with full liberty of action, willing and electing to do it. -Black's Law 4th Edition (bracket section
added by Brandon Joe Williams to clarify the word "corporal")

Republic:

”We may define a republic to be, or at least may bestow that name on, a government which derives all
its powers directly or indirectly from the great body of the people, and is administered by persons
holding their offices during pleasure, for a limited period, or during good behavior. It is ESSENTIAL
to such a government that it be derived from the great body of the society, not from an inconsiderable
proportion, or a favored class of it; .. . Itis SUFFICIENT for such a government that the persons

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administering it be appointed, either directly or indirectly, by the people; and that they hold their
appointments by either of the tenures just specified.” -James Madison in Federalist No. 39

Taxpayer:

ans who willingly and knowingly wishes to gift their money or currency then completes the action
of actually gifting it. Just because they donated once does not permanently make them a “taxpayer.”
They can only be assumed to be a taxpayer at the exact moment of donation... not a minute before or a
minute after.

Currency:

Anything used as a medium of exchange. The words “money” and “currency” ARE VERY
DIFFERENT. Currency could be bottle caps, small pieces of metal, paper, or anything else. Currency
is not required to be silver/gold coins. This definition includes negotiable instruments.

Corporation/business:

An organization that operates under the Crown of England. The entire contract breaks down like this:
someone APPLIES for approval to be under the codes, regulations and rules of the Crown of England,
then is approved and allowed to operate in their world. You “incorporate” into this world, meaning you
involve yourself in it and operate under its structure. There are various services available in that world
that provide structure and boundaries in exchange for fees and other consideration. Contracting into
this body of rules and regulations is a choice and each person should look at the pros, cons and benefits
associated with doing so prior to requesting approval. All corporations can only be physically located
in one of three locations: The District of Columbia, the incorporated sector of the City of London or
Vatican City.

Loan:

In the de facto, it is the indorsing of a promissory note by a person based off their future potential
productivity, which is then exchanged with the Federal Reserve for Federal Reserve Notes. A
“financial institution” is not required to convert the promissory note into Federal Reserve Notes but
may be utilized for assistance if needed. A “financial institution” hired to provide this service is
nothing more than a contracted currency exchanger and the loan is NOT being given by then (they are
not a “lender,” they are a “currency exchange.”) Any effort to trick or deceive as to who is creating the
loan or giving the loan will be treated as fraud or treason and handled accordingly. In the de jure it is
the issuing of silver/gold coins at interest.

Lies:

Pieces of information that degrade and/or create/enhance bad conditions. One of the purposes of the
courts is “to locate and obliterate the sources of lies.”

Trust:

An agreement where assets are held and administered by a trustee for the benefit of a beneficiary. This
structure comes straight from God through the Bible and, while there have been corporate versions of
trusts created in an effort to deceive, THIS DEFINITION SPECIFICALLY AND EXPLICITLY
DOES NOT INCLUDE THOSE TYPES OF “TRUSTS.” Corporate trusts are not trusts, they are
corporations or businesses and are located in the District of Columbia, City of London or Vatican City.
This is a definition of truth, not deception. This definition of trust only applies to the completely non-
incorporated original trust agreements that are entirely and completely sovereign and un-a-lien-able.
Trusts are not within the jurisdiction or purview of any corporate element, government element, or
anything else. They are governed only and entirely by the people who are involved in the trust. Trusts
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are NOT created by government or any corporation and are created by a grantor/executor, which is a
person who simply brings the trust into being.

Sovereign:

A person’s status outside of any external group or corporate system. This status cannot be signed away
or given away under any circumstances. The only avenue to truly relinquish sovereignty is suicide. The
words “foreign” or “nonresident” are both indicating a sovereign person or area.

Suicide:
To kill oneself as a willful act of ending the contract of life.

Government:

An organization that is below the level of the power of an American that is operated to keep the peace
in the society and assist cultures and societies to remove elements that cause unnecessary turbulence in
the society. The basic purpose of government is “to create and foster a culture that is flourishing, free
of disputes and confusions/lies. A planter and harvester of truth.” No corporation can be a government,
as the purpose of a corporation is “maximum profit for shareholders” and that creates a massive
conflict of interest.

*Supreme court case of Elkins Et Al v. United States, 364 U.S. 206: “In a government of laws,
existence of the government will be imperiled if it fails to observe the law scrupulously. Our
government is the potent, the omnipresent teacher. For good or ill, it teaches the whole people by its
example. Crime is contagious. If the government becomes a lawbreaker, it breeds contempt for law, it
invites every man to become a law unto himself, and it invites anarchy.”

Citizen:

A government officer or employee. If you look over the many definitions of “city” in Black’s Law,
you will see things like “a political entity or subdivision for governmental purposes,” “a public
corporation for public purposes,” “A state agency for carrying on local government,” and “a voluntary
association or corporation.”

Employee:

Generally, when person for whom services are performed has right to control and direct individual who
performs services not only as to result to be accomplished by work but also as to details and means by
which result is accomplished, individual subject to direction is an "employee". Young v. Demos, 70
Ga. App. 577, 28 S.E. 2d 891, 893.

US Citizen/U.S. Person:

An individual working for the incorporated government in the District of Columbia. “U.S. Person”
could also be an entity, such as a corporation or estate, organized under the laws of the incorporated
entity called “United States.”

Passport:

A quick and easy way to identify oneself in terms of culture, nationality, etc. A passport is not
necessary and simply greases the gears of the social world. It is wholly non-commercial and has to do
with a person’s private, non-commercial, non-governmental activities.

Commerce:
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Fee-for-service flow where all parties agree that legal or litigation intervention has been injected in an
effort to keep all parties from failing to perform.

Statutes/Policy/Codes:

Rules that are created by a government, corporation or group for the purpose of creating structure and
agreement for the willing members of the group. Policy. A person may be involved in many sets of
statutes in various areas of their life. These spoken or implied agreements allow them to navigate their
endeavors and no statutes are ever imposed on them beyond their will and awareness. If any group
decides that a person has gone too far outside their statues, they remove the person from the group
beyond their will to be in that group.

Law:

Exact and specific rules or boundaries that all of mankind naturally, spoken or unspoken, agree on.
Law is very simple and is composed of 3 basic points: do not harm others, do not harm or steal the
property of others and be transparent (do not lie or hide things) in your contracts and dealings with
others. Everyone has the protections of true law, even those that are involved in groups with specific
Codes. No Code or statute will ever cloud or supersede an individual’s natural law and any attempt to
reduce the rights of any governmental employee or corporate citizen is tantamount to treason. Anyone
operating with the intention to help others has the full protections of law at all times and their standing
as a man or woman is primary in law above all other titles. Law is designed to disarm the person who
has the intention to harm and to empower the person with the intention to help.

Certificate of Title (or any other name for a document proving ownership or interest):

Essentially a receipt that shows that the Manufacturer’s Certificate of Origin (MCO) of a vehicle is
being safely kept by the state. The Certificate of Title is an exact duplicate in power in law as the MCO
and is not an abstract or representation of the Manufacturer’s Certificate of Origin, but it IS the MCO,
simply in another format. The holding of a Certificate of Title is the exact same as the holding of the
MCO and transferring a Certificate of Title is the same as transferring the MCO itself. Registration is
nothing more than the fees that are paid in exchange for the protection of the MCO and transferring of
it. At no point in time does the state own or have a legal interest in the vehicle. The state is operating
only as a banking lockbox to help protect the MCO and to administrate the transferring of the full
rights of the vehicle or automobile.

Manufacturer’s Certificate of Origin (MCO):

The original birth certificate of a vehicle, describing what was created by the manufacturer. This piece
of paper is held in safekeeping by the corporate entity of the District of Columbia via Department of
Motor Vehicle centers (or similar names). These MCOs are held in safe-keeping and the Certificates of
Title that are issued by the Dept of Motor Vehicles (or any similar corporation) are nothing more than
legal copies of the MCO. Exchanging the “Certificate of Title” exchanges the full and entire interest in
the MCO from the parties listed on the Certificate of Title. The bill of sale between private individuals
who exchange the Certificate of Title is a brand new MCO that essentially shows that the person who
has held and modified the car has exchanged that car to the new owner. The Dept of Motor Vehicles
(or any other corporation) agrees that the writing and notarization of a bill of sale between persons
exchanging a Certificate of Title contains the same power as exchanging the MCO and the bill of sale
is a superior title to even the MCO itself. The Dept of Motor Vehicles (or any similar corporation)
operates as essentially a bank and holds the superior title for us as essentially a glorified lockbox.

Vehicle/Automobile/Motor vehicle/Motor Carrier:

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A car, truck, big rig, boat, plane, etc, that could be used for either commercial reasons or non-
commercial reasons. These terms are now all interchangeable. No license is required to operate any of
the above. If a person wishes, they may acquire a passport for simpler travel in order to identify
themselves. If they are willingly contracted into a body of commercial Codes, they may get a Driver’s
License that delineates which body of Codes they are subscribed to and any other important
information that may be associated with that subscription. All vehicles/automobiles and motor vehicles
have superior titles that are held by the holder of the Manufacturer’s Certificate of Origin or the
Certificate of Title (or any other official paper that describes ownership). The presentment of a
passport, OR NO LICENSE AT ALL, indicates that the vehicle is not involved in any pre-determined
statute systems in commerce. The current and exact evidence supporting that a person is involved in
commerce is needed to truly and legally/lawfully classify someone as “involved in commerce.” Any
automobile moving its own personal property or private passengers are not commerce.

Manufacture/manufacturer:

The organization of natural elements into a cohesive system. Something that is the product of a
combination of products through some kind of system. Manufacturing also includes the altering or
customizing of already-produced products. Any altering to a product in any way makes the person who
altered the item the “manufacturer.” This word is literal in the fact that “manu” comes from “made by
the hand” - so any changes or alterations or upgrades made by the hands of the previous owner would
fit within this definition.

Bill of sale:

Any document that describes any item being transferred and any customization or alterations that item
went through during previous ownership. The bill of sale acts as a superior title and is the new
Manufacturer’s Certificate of Origin for the automobile.

Superior title:

The highest and complete sovereign ownership and governance of any item or thing. In law, the
superior titles used by a person are “man” and “woman” and these titles are always assumed to be the
primary title above all spoken, written or assumed titles.

Marriage:

An agreement with God to have a union with one or more other persons in an effort to make their lives
and the lives of others better. A trust agreement. No corporation or “artificial entity” may enter or
involve itself with the structure of a marriage as it is a bond between only the men, women and their
God, as defined by them.

Divine:
Involving or contracted with God (however that may be defined by the individual).

God:

A person’s idea of the pure energy or the personification of spiritual or ethical idealism. This could be
perceived as a body, an idea or anything else and is completely and only definable within the
perception and decisions of the individual.

Sovereign citizen:
Someone who creates unnecessary contention by violently combating things of which they do not
understand.
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National:

As per 8 USC 1101(a)(21): “The term “national” means a person owing permanent allegiance to a
state.” This status is achieved through naturalization, from 8 USC 1101(a)(23): “The term
“naturalization” means the conferring of nationality of a state upon a person after birth, by any means
whatsoever.” A national isa TRUE American and lives on the land of North America. Indian tribes are
in this category.

Evidence:
Proof that establishes location, intention, action and responsibility. Perceptions and opinions may very
well not be evidence.

Crimes:

There must be a victim to have a crime. The “government” or state may not be the victim. “Crime” is
established when someone’s rights are exercised to such a broad level that it harms or damages another
person.

“Harm” or “damage”:
Physical or emotional destruction or degradation that can be somehow proven objectively (subjective
examples would need more of a track-record of proof in order to be substantiated).

“You,” “Your” or any other small common word:

"You” or “your” or any other variation of showing identity and any usage of small common words to
try and trick someone into special definitions that degrade or harm will fall under treason. Redefining
these words are an obvious attempt at subversion and are never going to be used in an effort to assist
someone. The creation of special definitions for small common words are immediately assumed to be
treason, as the intent is clear. This definition was born out of a cognizance of the existence of 20 CFR
422.402 subsection (e). This definition automatically eliminates all definitions of this type and vitiates
their existence since their supposed inception.

Represent:
To assist another in presenting themselves. No one waives their rights or status in having or demanding
assistance.

Driving/traveling:

These words now mean the same thing. Someone who produces no license at all or a passport is in
non-commerce. Someone producing a Driver’s License is in commerce. THEIR INVOLVEMENT IN
COMMERCE MUST BE EVIDENT AND THEIR UNKNOWING PRESENTMENT OF A
DRIVER’S LICENSE DOES NOT AUTOMATICALLY MEAN THEY OPERATE IN
COMMERCE. IT IS ONLY AN INDICATOR AND EVIDENCE MUST BE ESTABLISHED.

Social Security/Social Security Number:

The Employer Identification Number (EIN) of the public corporation of your name in all capital letters
(the ens legis). The IRS defines the EIN as: “An Employer Identification Number (EIN), also known as
a Federal Tax ID Number, is a 9-digit number assigned by the IRS to identify a business entity. It is
often used for banking, taxation, and to register your business with the federal government.”

Public corporation:
“A public corporation is one created by the state for political purposes and to act as an agency in the
administration of civil government.” -Black’s Law 4th Edition

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Obligations of the United States: .
Any promise or evidence of debt regarding any public corporation. 18 USC 8 is quite clear about this.

Abundance:
The idea that a person has “more than what is needed or desired.” The idea of how much someone

needs or desires is entirely up to them and has nothing to do with their environment. This feeling or
idea is entirely within the control of each individual person for each individual area of their life. This
ratio of “abundance versus scarcity” gives tremendous excitement in the game of life.

Scarcity:

The idea that a person has “less than what is needed or desired.” The idea of how much someone needs
or desires is entirely up to them and has nothing to do with their environment. This feeling or idea is
entirely within the control of each individual person for each individual area of their life. This ratio of
“abundance versus scarcity” gives tremendous excitement in the game of life.

Resident alien:
Someone who is PROVEN to live in the District of Columbia.

Non-resident alien:
Someone who is PROVEN to not live in the District of Columbia.

Transmitting utility:

This term is not to be mistaken with a human being. This term means a person who is producing or
transmitting electricity. While the body does do that, this definition is explicitly negating any idea that
a human being is a transmitting utility in the eyes of the law.

License:

Permission to do something that would otherwise be considered illegal. This is generally only needed
for corporations as men and women do not need licenses but are actually the issuers of licenses
themselves.

Intelligence:

Normally, “intelligence” is known as “some fixed and predetermined capacity to understand.” This
definition is limiting and was manufactured by the field of psychiatrists in an effort to make people
feel overwhelmed by their inability to rapidly grasp something. Due to this sly and highly false
definition, humanity has been harmed. The new definition of “intelligence” is simply CURIOSITY.
Curiosity (and now “intelligence”) is defined as “a natively infinite ability to find wonderment in
things. Each and every person has an immediate and infinite quantity of this. How rapidly they grasp
things is simply gauged by the quality of the questions they ask when applying their “intelligence” or
curiosity. Poor quality questions reduce the speed of comprehension, but the application of
“intelligence” will ALWAYS arrive at an understanding... regardless of the quality of the questions.”

Man:

The ultimate title. The ultimate simplicity. One of the basic elements of the battery of nature. The
desire to protect. The drive and focus to achieve a goal. One of two original bodies created by God in
an effort to be a creation of half of what God is composed of. An incomplete expression of nature. The
searcher of beauty.

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Woman:

The ultimate title. The creator of beauty. Beauty is created by the manufacturer of art. Beauty is not
inherent, it is created. The dancing, warm flow of existence. That of which is the great mediator of life.
The true logic of life that understands life through the emotional and instinctual understanding of
experience. That of which prevents life and existence from using the drive of masculinity in an effort
to drive our human race into oblivion. Softness, mediation, flow.

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Section 2: Notice to Person Executing
Limited Power of Attorney

IMPORTANT NOTE 1: Any assumption that the principal has ever indorsed anything with a blank
indorsement is hereby explicitly negated. This agreement hereby explicitly waives the right of the
principal (or any entities) to indorse any instrument with a blank indorsement (unless worded
specifically “pay to the order of: bearer” with an allonge explaining why it being indorsed that way).
All indorsements are assumed, be default, to be both qualified and special. All indorsed instruments
from the past assumed to be blank are hereby to be considered fraud and need to be reindorsed or
clarified by both the principal and agent. The default or assumed indorsement for all past, current and
future instruments is:

WITHOUT RECOURSE
WITHOUT PREJUDICE
Pay to the Order of:
ROBERT ALLEN BAUTISTA®
By: /s/ Robert Allen Bautista/agent

Robert Allen Bautista/attorney-in-fact

a 2 2 i 3K

A durable power of attorney is an important legal document. By signing the durable power of attorney,
you are authorizing another person to act for you, the principal. Before you sign this durable power of
attorney, you should know these important facts:

Your agent (attorney-in-fact) has no duty to act unless you and your agent agree otherwise in writing.
This document gives your agent the powers to manage, dispose of, sell, and convey your real and
personal property, and to use your property as security if your agent borrows money on your behalf.
This document explicitly DOES give your agent the power to accept or receive any of your property, in
trust or otherwise, as a gift, without the need to specifically authorize the agent to accept or receive a
gift. These actions are done in an effort to benefit all parties and to better administer the survival of
both persons in an effort to expand the survival potential of both persons perpetually into the future.
Principal has FULL and UTTER trust in the agent to operate entirely in absolutely EVERY area in all
of existence without rules or regulations. Principal FULLY comprehends the tremendous risk and has
read this entire document in extensive detail, taking care to clear up the definitions of any words and
clarify all aspects of this document. This document is a contract, made under the willful and total
cognizance, of total and absolute governance by ROBERT ALLEN BAUTISTA ®.

Your agent will have the right to receive reasonable payment for services provided under this durable
power of attorney unless you provide otherwise in this power of attorney.

The powers you give your agent will continue to exist even beyond your entire lifetime, unless you
state that the durable power of attorney will last for a shorter period of time or unless you otherwise
terminate the durable power of attorney. The powers you give your agent in this durable power of
attorney will continue to exist even if you can no longer make your own decisions respecting the

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management of your property. Since the principal is an ens legis, easily identified by what is called the
“Social Security Number,” it could be assumed that this person never actually lived to begin with and
thus never had a “lifetime” of which to speak about in this agreement. None of that negates the binding
aspect of this DPOA.

You can amend or change this durable power of attorney only by executing a new durable power of
attorney or by executing an amendment through the same formalities as an original. You have the right
to revoke or terminate this durable power of attorney at any time, so long as you are competent.

This durable power of attorney must be dated and must be acknowledged before a notary public or
signed by two witnesses. If it is signed by two witnesses, they must witness either (1) the signing of the
power of attorney or (2) the principal's signing or acknowledgment of his or her signature. A durable
power of attorney that may affect real property should be acknowledged before a notary public so that
it may easily be recorded.

You should read this durable power of attorney carefully. When effective, this durable power of
attorney will give your agent the right to deal with property that you now have or might acquire in the
future. The durable power of attorney is important to you. If you do not understand the durable power
of attorney, or any provision of it, then you should obtain the assistance of an attorney or other
qualified person.

NOTICE: THIS IS A PRIVATE POWER OF ATTORNEY BEING EXECUTED IN THE NATION
CALLED THE AMNESTY COALITION AND IS APPLICABLE IN ALL STATUTORY
SITUATIONS VIA NATURALIZATION FROM 8 USC 1101(a)(23) OR BY ANY OTHER MEANS.
THIS DPOA APPLIES TO COMMON LAW, NONSTATUTORY APPLICATIONS, AS WELL AS
STATUTORY SITUATIONS IN THE UNITED STATES OR ELSEWHERE. THIS AGREEMENT
APPLIES TO ABSOLUTELY ANYTHING AND ANYPLACE.

I, ROBERT ALLEN BAUTISTA ®, non-residence mailing address of 400 N ERVAY ST 131385
DALLAS TX 75313, hereby appoint Robert Allen Bautista, domiciled at 123 WONDERLAND WAY
PICKELTARIA, as my attorney-in-fact ("Agent") to exercise the powers and discretions described
below.

This Power of Attorney shall not be affected by my subsequent incapacity.

As per trademark serial number: 98719160, I hereby release all security and bond creation to Robert
Allen Bautista/agent. This trademark, even if made void, canceled or changed, signifies that only
Robert Allen Bautista/agent has the capacity to decide on my ability or decision to contract in
absolutely any way in commerce.

I hereby revoke any and all general powers of attorney and special powers of attorney that previously
have been signed by me. This agreement hereby replaces the earlier one that I had with ROBERT
ALLEN BAUTISTA ®.

My Agent shall have full power and authority to act on my behalf. This power and authority shall
authorize my Agent to manage and conduct all of my affairs and to exercise all of my legal rights and
powers, including all rights and powers that I may acquire in the future. My Agent's powers shall
include, but not be limited to, the power to:

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1. Open, maintain or close bank accounts (including, but not limited to, checking accounts, savings
accounts, and certificates of deposit), brokerage accounts, retirement plan accounts, and other similar
accounts with financial institutions.

a. Conduct any business with any banking or financial institution with respect to any of my accounts,
including, but not limited to, making deposits and withdrawals, negotiating or indorsing any checks or
other instruments with respect to any such accounts, obtaining bank statements, passbooks, drafts,
money orders, warrants, and certificates or vouchers payable to me by any person, firm, corporation or
political entity. I also permit Robert Allen Bautista to assign, create, eliminate and FULLY control any
and all UCC1 filings, UCC3 fillings, security interests, etc on my behalf.

b. Add, delete or change beneficiaries to any financial accounts I own including insurance policies,
annuities, retirement accounts, payable on death savings or checking accounts or other investments.

c. Perform any act necessary to deposit, negotiate, sell or transfer any note, security, or draft of the
United States of America, including U.S. Treasury Securities. This includes any non-US notes,
securities, drafts, etc.

d. Have access to any safe deposit box that I might own, including its contents.
2. Provide for the support and protection of myself, my spouse, or of any minor child I have a duty to
support or have established a pattern of prior support, including, without limitation, provision for food,

lodging, housing, medical services, recreation and travel.

3. Sell, exchange, buy, invest, or reinvest any assets or property owned by me. Such assets or property
may include income producing or non-income producing assets and property.

4. Take any and all legal steps necessary to collect any amount or debt owed to me, or to settle any
claim, whether made against me or asserted on my behalf against any other person or entity.

5. Enter into binding contracts on my behalf.

6. Maintain and/or operate any business that I may own.

7. Employ professional and business assistance as may be appropriate, including attorneys,
accountants, and real estate agents.

8. Sell, convey, lease, mortgage, manage, insure, improve, repair, or perform any other act with respect
to any of my property (now owned or later acquired) including, but not limited to, real estate and real
estate rights (including the right to remove tenants and to recover possession). This includes the right
to sell or encumber any homestead that I now own or may own in the future.

9. Prepare, sign, and file documents with any governmental body or agency, including, but not limited
to, authorization to:

a. Prepare, sign and file income and other tax returns with federal, state, local, and other governmental
bodies.

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b. Obtain information or documents from any government or its agencies, and represent me in all tax
matters, including the authority to negotiate, compromise, or settle any matter with such government or

agency.

c. Prepare applications, provide information, and perform any other act reasonably requested by any
government or its agencies in connection with governmental benefits (including medical, military and
social security benefits), and to appoint anyone, including my Agent, to act as my "Representative
Payee" for the purpose of receiving Social Security benefits.

10. Make gifts from my assets to members of my family and to such other persons or charitable
organizations with whom I have an established pattern of giving (or if it is appropriate to make such
gifts for estate planning and/or tax purposes), to file state and federal gift tax returns, and to file a tax
election to split gifts with my spouse, if any. No Agent acting under this instrument, except as
specifically authorized in this instrument, shall have the power or authority to (a) gift, appoint, assign
or designate any of my assets, interests or rights, directly or indirectly, to such Agent, such Agent's
estate, such Agent's creditors, or the creditors of such Agent's estate, (b) exercise any powers of
appointment I may hold in favor of such Agent, such Agent's estate, such Agent's creditors, or the
creditors of such Agent's estate, or (c) use any of my assets to discharge any of such Agent's legal
obligations, including any obligations of support which such Agent may owe to others, excluding those
whom I am legally obligated to support.

11. To transfer any of my assets to the trustee of any revocable trust created by me, if such trust is in
existence at the time of such transfer.

12. To utilize my assets to fund a trust not created by me, but to which I have either established a
pattern of funding, or to fund a trust created by my Agent for my benefit or the benefit of my
dependents, heirs or devisees upon the advice of a financial adviser.

13. To create, sign, modify or revoke any trust agreements or other trust documents in an attempt to
manage or create a trust that was created for my benefit or the benefit of my dependents, heirs or
devisees. This shall include the creation, modification or revocation of any inter vivos, family living,
irrevocable or revocable trusts.

14. To exercise fiduciary responsibilities that I have a right to delegate.

15. Subject to other provisions of this document, my Agent may disclaim any interest, which might
otherwise be transferred or distributed to me from any other person, estate, trust, or other entity, as
may be appropriate. However, my Agent may not disclaim assets to which I would be entitled, if the
result is that the disclaimed assets pass directly or indirectly to my Agent or my Agent's estate.
Provided that they are not the same person, my Agent may disclaim assets which pass to my Gift
Agent, and my Gift Agent may disclaim assets which pass to my Agent.

16. Have access to my healthcare and medical records and statements regarding billing, insurance and
payments.

17. Act on my behalf for the purposes of managing, distributing, and terminating my digital assets. For
the purposes of this Power of Attorney, digital assets shall mean electronic assets that are stored on my
computers, electronic devices, or on any online account, as identified in the Digital Assets
Memorandum of this Power of Attorney. Online accounts include, but are not limited to, social-

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networking sites, online backup services, servers, email accounts, photo and document sharing sites,
financial and business accounts, domain names, virtual property, websites, and blogs. The Digital
Assets Memorandum, with associated websites, usernames, passwords, and related information, is
hereby incorporated by reference into this Power of Attorney and shall be distributed to my Agent
designated in this Power of Attorney. My Agent shall have the power and authority to manage,
conduct, and to exercise all of my legal rights and powers relating to my digital assets, including all
rights and powers that I may acquire in the future. My Agent's powers shall include, but not be limited
to, the power to access, download, and backup digital assets, convert my file formats, access any and
all devices necessary to manage digital assets, and clear computer caches and delete files.

This Power of Attorney shall be construed broadly as a General Power of Attorney. The listing of
specific powers is not intended to limit or restrict the general powers granted in this Power of Attorney

in any manner.

Any power or authority granted to my Agent under this document shall be limited to the extent
necessary to prevent this Power of Attorney from causing, (i) my income to be taxable to my Agent,
(ii) my assets to be subject to a general power of appointment by my Agent, or (iii) my Agent to have
any incidents of ownership with respect to any life insurance policies that | may own on the life of my
Agent.

My Agent shall not be liable for any loss that results from a judgment error that was made in good
faith. However, my Agent shall be liable for willful misconduct or the failure to act in good faith while
acting under the authority of this Power of Attorney. A Successor Agent shall not be liable for acts of a
prior Agent.

No person who relies in good faith on the authority of my Agent under this instrument shall incur any
liability to me, my estate or my personal representative. I authorize my Agent to indemnify and hold
harmless any third party who accepts and acts under this document.

If any part of any provision of this instrument shall be invalid or unenforceable under applicable law,
such part shall be ineffective to the extent of such invalidity only, without in any way affecting the
remaining parts of such provision or the remaining provisions of this instrument.

My Agent shall be entitled to reasonable compensation for any services provided as my Agent. My
Agent shall be entitled to reimbursement of all reasonable expenses incurred as a result of carrying out
any provision of this Power of Attorney.

My Agent shall provide an accounting for all funds handled and all acts performed as my Agent as
required under state law or upon my request or the request of any authorized personal representative,
fiduciary or court of record acting on my behalf.

This Power of Attorney shall become effective immediately, and shall not be affected by my disability
or lack of mental competence, except as may be provided otherwise by an applicable state statute. This
is a Durable Power of Attorney. This Power of Attorney shall continue effective until October 16,
2199. This Power of Attorney may be revoked by me at any time by providing written notice to my
Agent.

It is acknowledged that the principal operates and exists both WITHIN or WITHOUT the United
States, depending on how he is naturalized by (Robert Allen Bautista). The agent operates WITHOUT

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the United States at all times pursuant to 28 USC 1746. Notarization is NOT naturalization as it only
references temporary location and does not specify a change in allegiance.

Dated Nov EuMRte BA, 28, at Dallas, Texas Republic

WITHOUT RECOURSE Li THOUT PREQUD ICE
PAY TOT HE ORES —— PACA @

Witness Signature:
Name:

City:
State:

Witness Signature:
Name:
City:
State:

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A notary public or other officer completing this certificate verifies only the identity of the individual
who signed the document to which this certificate is attached, and not the truthfulness, accuracy, or
validity of that document.

STATE OF TEXAS,
COUNTY OF DALLAS

On Nov4in A before me, ROBERT ALLEN BAUTISTA ®, personally appeared, who
proved to me on the basis of satisfactory evidence to be the person(s) whose name(s) is/are subscribed
to the within instrument and acknowledged to me that he/she/they executed the same in his/her/their
authorized capacity(ies), and that by his/her/their signature(s) on the instrument the person(s), or the
entity upon behalf of which the person(s) acted, executed the instrument.

I certify under PENALTY OF PERJURY under the laws of the State of California that the foregoing

paragraph is true and correct.
NOTARY PUBLIC STATE OF TEXAS
: *] MY COMM. EXP. 3/31/26
are NOTARY ID 1118413-0

Vida Id Nido (Notary Seal)

Signature of Notary Public

WITNESS my hand and official seal.

This document was prepared by:
Robert Allen Bautista/agent

21
Case 3:24-cv-03010-N-BT Documenti-1 Filed 12/02/24 Page61lof92 PagelD 65

Notice to Person Accepting the Appointment as Attorney-in-Fact:

By acting or agreeing to act as the agent (attorney-in-fact) under this power of attorney you assume the
fiduciary and other legal responsibilities of an agent. These responsibilities include:

1. The legal duty to act solely in the interest of the principal and to avoid conflicts of interest.

2. The legal duty to keep the principal's property separate and distinct from any other property owned
or controlled by you.

You MAY transfer the principal's property to yourself without the need for full and adequate
consideration and you may accept a gift of the principal's property. The only provision would be that
the transferring of such property would need to be beneficial to the principal and agent.

I have read the foregoing notice and I understand the legal and fiduciary duties that I assume by acting
or agreeing to act as the agent (attorney-in-fact) under the terms of this power of attorney.

Agent attests this document to be signed on his behalf in the Nation of the Amnesty Coalition:

Date: NOVEM? D4, 29°24
tTtpoT PRESLIICE
Signed: RIT ivr Reg OF RRCET ALL RAVTIETA @
BY: mac

Rabsct Allen Bartesta APpney-ia-fact
Robert Allen Bautista/agent

ie
Case 3:24-cv-03010-N-BT Documenti1-1 Filed 12/02/24 Page 62of92 PagelD 66

Digital Assets Memorandum

NOTE TO PRINCIPAL AND DIGITAL AGENT(S): This Digital Assets Memorandum should be
separated from the rest of the power of attorney and be kept accessible only to the Principal and the
Digital Agent(s), as this may contain sensitive and confidential information. This memorandum may
be updated by the Principal from time to time.

Name of Digital Agent and Each Digital Asset

Digital Agent(s):

Name of Digital Agent: Robert Allen Bautista
Address: 400 N ERVAY ST 131385

City: DALLAS

State: TEXAS 75313

Phone Number: 702-501-9639

Digital Devices:
Name of Digital Asset: All digital devices such as computers, cell phones, etc.

Email Accounts:
Name of Digital Asset: All email accounts: Gmail, Hotmail, whiterabbitconsortium.org, etc.

Social Networking Accounts:
Name of Digital Asset: All social media accounts: YouTube, Google, Facebook. TikTok, Instagram,
LinkedIn, etc.

Online Bank Accounts:
Name of Digital Asset: All online bank accounts: Chase, Amegy Bank, PNC Bank, Capital One,
Goldman Sachs, Comenity Bank, etc.

Online Media Accounts:
Name of Digital Asset: All online media accounts: Spotify, Soundcloud, Apple Music etc.

Other Digital Assets:
Name of Digital Asset: Absolutely all digital assets: Steam, Online Phone Systems, etc.
Case 3:24-cv-03010-N-BT Documenti-1 Filed 12/02/24 Page 63o0f92 PagelD 67

Exhibit 1-K
Case 3:24-cv-03010-N-BT Documenti1-1 Filed 12/02/24 Page 64of92 PagelD 68

160T™ JUDICIAL DISTRICT COURT
GEORGE L. ALLEN COURTS BUILDING
600 COMMERCE STREET
DALLAS, TEXAS 75202-4604
214-653-7273
11/18/2024

ROBERT ALLEN BAUTISTA
PO BOX 131385
DALLAS TX 75313-1385

DC-24-18868
ROBERT ALLEN BAUTISTA vs. CAPITAL ONE FINANCIAL CORPORATION, et al

DISMISSAL HEARING NOTICE — BY SUBMISSION

The above case is set for dismissal for want of prosecution BY SUBMISSION on 12/31/2024 at 3:00
PM. in the 160" District Court, Dallas County, Texas.

If you have perfected service and no answer has been filed, you must have moved for or have proved up a
default judgment on or prior to the above date. Failure to do so prior to dismissal hearing will
automatically result in the dismissal of the case on the above date and time and place.

If you have not perfected service on all parties prior to said dismissal date, you must APPEAR BY
SUBMISSION FOR THE DISMISSAL HEARING. During said hearing you will have the opportunity
to show by way of verified motion, good cause for maintaining the case on the docket. The court SHALL
dismiss for Want of Prosecution unless there is a showing of good cause.

Sincerely

/s/ Nicholas Zaragoza _
Nicholas Zaragoza,
Court Coordinator

Case 3:24-cv-03010-N-BT Documenti1-1 Filed 12/02/24 Page 65of92 PagelD 69

Exhibit 1-L
2 W RAC > / CAPITALONE ETAL .
1) Case’ afoa-dv-b38-N-BT CET ALLEN RATA von Pale 66 A ot et 70

ORDER OF DEFAULT JUDGMENT

On this day, Plaintiff ROBERT ALLEN BAUTISTA®/ATTORNEY-IN-FACT, having filed a
Petition for Fair Access to Financial Services, Securities Fraud, and Misrepresentation, came before
the Court on the motion for default judgment against Defendants Capital One Financial
Corporation, Capital One, National Association, and Capital One Services, LLC. After review of
the court record, the applicable law, and the evidence presented, the Court finds as follows:

FINDINGS OF FACT

1. Service of Process: Plaintiff has properly served the Defendants with a copy of the Petition
in accordance with the Texas Rules of Civil Procedure.

2. Failure to Respond: Defendants have failed to file an answer, motion, or any responsive
pleading within the time required by law. No appearance has been made by or on behalf of
Defendants.

3. Notice: Plaintiff has properly notified Defendants of the lawsuit and the request for default
judgment.

4. Jurisdiction and Venue: The Court has jurisdiction over this matter, and venue is proper in
Dallas County, Texas.

5. Default Judgment: Pursuant to Texas Rule of Civil Procedure 239, the Defendants’ failure
to answer or respond to Plaintiff's Petition constitutes an admission of the allegations
contained therein, and Plaintiff is entitled to a default judgment.

CONCLUSIONS OF LAW

1. Default Judgment: The Defendants’ failure to respond to the Plaintiff's Petition is grounds
for a default judgment under Texas Rule of Civil Procedure 239 and 241.

2. Relief Sought: Plaintiff seeks the following relief, which the Court finds appropriate based
on the allegations set forth in the Petition:

a. Zeroing of Account Balances: The Court finds that Defendants have acted unlawfully in their
treatment of Plaintiff’s accounts and, therefore, orders that all account balances for accounts held
in the name of Plaintiff or his principal be immediately zeroed out.

b. Damages: Plaintiff is awarded the following types of damages, which are quantified based on the
various statutes under which Defendants have violated Plaintiff’s rights:

o Under the Fair Credit Reporting Act (FCRA), 15 U.S.C. § 1681 et seq.:

« Actual damages for financial losses and emotional distress caused by
Defendants’ inaccurate reporting and failure to comply with credit reporting
standards.

» Statutory damages of $1,000 for each violation of the FCRA.

« Punitive damages to be awarded in an amount to be determined by the
Court, not exceeding $100,000, for willful violations of the FCRA.
Case 3:24-cv-03010-N-BT Documenti-1 Filed 12/02/24 Page6/7of92 PagelD 71

o Under the Fair and Accurate Credit Transactions Act (FACTA), 15 U.S.C. § 1681c:
« Statutory damages of up to $1,000 per violation.
« Punitive damages for willful violations, as determined by the Court.

o Under the Equal Credit Opportunity Act (ECOA), 15 U.S.C. § 1691 et seq.:

« Actual damages for harm caused by discriminatory lending practices,
including the inability to access credit.

« Statutory damages of up to $10,000.

* Punitive damages for willful discrimination, to be determined by the Court,
in an amount up to $100,000.

o Under the Fair Housing Act (FHA), 42 U.S.C. § 3601 et seq.:

« Actual damages for financial and emotional distress caused by
discriminatory housing or lending practices.

« Punitive damages of up to $50,000 for individual violations, or $100,000 for
violations involving more than one person.

« Statutory damages, as appropriate.
o Under the Texas Fair Lending Act, Texas Finance Code § 343.001:
« Actual damages caused by violations of Texas Fair Lending laws.

« Statutory damages as determined by the Court for discriminatory or
predatory lending.

o Under the Texas Securities Act, Tex. Rev. Civ. Stat. Ann. art. 581-1 et seq.:

* Actual damages for losses resulting from fraudulent or misleading securities
transactions.

* Treble damages of three times the actual damages as allowed under the
Texas Securities Act.

o Under the Securities Exchange Act of 1934, 15 U.S.C. § 78j(b):
« Actual damages for fraud in securities trading or transactions.
* Punitive damages, as determined by the Court.

o Under the Texas Deceptive Trade Practices Act (DTPA), Texas Business and
Commerce Code § 17.41 et seq.:

« Actual damages for harm caused by deceptive trade practices, including
financial loss.

« Statutory damages up to three times the actual damages (treble damages)
for willful violations.

* Punitive damages, as determined by the Court, if applicable.
Case 3:24-cv-03010-N-BT Documenti-1 Filed 12/02/24 Page 68of92 PagelD 72

c. Attorney’s Fees and Court Costs: Plaintiff is awarded $1,000 in reasonable attorney’s fees and
court costs for the prosecution of this case.

d. Cease and Desist from Fees: Defendants are ordered to cease and desist from assessing any fees
on Plaintiff’s accounts, including but not limited to late fees, annual fees, or any other charges.
Additionally, Defendants are ordered to refund any such fees previously assessed to Plaintiff’s
accounts.

ORDER
It is therefore ORDERED, ADJUDGED, and DECREED that:

1. Default Judgment is hereby rendered in favor of Plaintiff ROBERT ALLEN
BAUTISTA®/ATTORNEY-IN-FACT and against Defendants Capital One Financial
Corporation, Capital One, National Association, and Capital One Services, LLC.

2. Defendants are ordered to immediately zero out the account balances for any accounts in
the name of Plaintiff or his principal, including all outstanding charges, balances, or debts
associated with said accounts.

3. Plaintiff is awarded $100,000 in damages for emotional distress, financial loss, and damage
to creditworthiness resulting from Defendants' unlawful actions, in addition to the damages
specified under each applicable statute as outlined above.

4. Defendants are hereby ordered to continue providing banking services to Plaintiff,
including but not limited to the continued provision of access to financial services, credit,
and account maintenance, without undue delay or restriction.

5. Defendants are ordered to cease and desist from assessing any fees on Plaintiff’s accounts,
including but not limited to late fees, annual fees, or any other charges. Furthermore,
Defendants must refund any such fees previously assessed to Plaintiff’s accounts.

6. Plaintiff is awarded $1,000 in reasonable attorney's fees and court costs for the prosecution
of this case.

7. Any other relief that this Court deems just and proper, including injunctive relief and
enforcement of this judgment, is hereby GRANTED.

This is a final judgment in this case, and no further action or response from Defendants is required.

Signed this day of , 2024.

HONORABLE AIESHA REDMOND
District Court Judge
Dallas County, Texas
Case 3:24-cv-03010-N-BT Documenti-1 Filed 12/02/24 Page 69 of 92

CERTIFICATE OF SERVICE

PagelD 73

I hereby certify that a true and correct copy of the foregoing Order of Default Judgment was sent to
the following parties on the 1°’ day of NOVEMBER, 2024:

[Plaintiff’s Signature]

Capital One Financial Corporation
1680 Capital One Dr., McLean, VA 22102-3407

Capital One, National Association
1680 Capital One Dr., McLean, VA 22102-3407

Capital One Services, LLC
1680 Capital One Dr., McLean, VA 22102-3407

ROBERT ALLEN BAUTISTA®/ATTORNEY-IN-FACT

PO BOX 131385

DALLAS, TX 75313-1385
RBRTBTST16@GMAIL.COM
702-501-9639

This order concludes the default judgment process in favor of the Plaintiff.

WITHOUT RECOURSE
WITHOUT PREJUDICE
PAY TO THE ORDER OF

Robert Allen Bautista/attorney-in-fact

Case 3:24-cv-03010-N-BT Documenti-1 Filed 12/02/24 Page 70 of 92

IN THE DISTRICT COURT OF DALLAS COUNTY, TEXAS

ROBERT ALLEN BAUTISTA®/ATTORNEY-IN-FACT
Plaintiff,

Vv.

CAPITAL ONE FINANCIAL CORPORATION
CAPITAL ONE, NATIONAL ASSOCIATION
CAPITAL ONE SERVICES, LLC
Defendants.

CIVIL ACTION NO. DC-24-18868

PagelD 74
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Exhibit 1-M
FILED

11/22/2024 1:53 PM

. FELICIA PITRE

Case 3:24-cv-03010-N-BT Document1-1 Filed 12/02/24 Page 72of92 PagelDbi§rrict cLERK
DALLAS CO., TEXAS

CAROLYN SELLERS DEPUTY

CAUSE NO. DC-24-18868

ROBERT ALLEN BAUTISTA, IN THE DISTRICT COURT OF
Plaintiff

Vv. 160th DISTRICT COURT

CAPITAL ONE FINANCIAL

CORPORATION 878185453;

CAPITAL ONE, NATIONAL
ASSOCIATION 006947543; and
CAPITAL ONE SERVICES, LLC
837630326

QP LP LP DP OP? LN QO Lr? LO? LD ML LO L Lr LK

Defendants. DALLAS COUNTY, TEXAS

DEFENDANT CAPITAL ONE, N.A.’S ANSWER

TO THE HONORABLE JUDGE OF THE COURT AND ALL PARTIES:

COMES NOW, Defendant CAPITAL ONE, N.A. (erroneously sued as “Capital One
Financial Corporation 87818543,” “Capital One, National Association 006947543,” and “Capital
One Services, LLC 837630326”) (hereinafter “Capital One”) in the above entitled and numbered
cause and in accordance with the Texas Rules of Civil Procedure files this Answer (“Answer”) to
Plaintiff ROBERT ALLEN BAUTISTA’s (“Plaintiff”) Petition For Fair Access to Financial
Services, Securities Fraud, and Misrepresentation (“Petition”) and shows the Court as follows:

I.
GENERAL DENIAL

As permitted under the Texas Rules of Civil Procedure section 502.5(b), Capital One

generally denies all of the allegations contained in the Petition, which does not bar Capital One

from raising any defenses at trial.
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II.
AFFIRMATIVE DEFENSES
As permitted under the Texas Rules of Civil Procedure, without waiving and subject to the

foregoing General Denial, Capital One further pleads the affirmative defenses as follows:

FIRST AFFIRMATIVE DEFENSE
(Failure to State a Claim)

1. The Petition and each and every allegation contained therein fails to state a claim
upon which relief can be granted.

SECOND AFFIRMATIVE DEFENSE

(Compliance with Laws, Statutes and Regulations)

2. Capital One is informed and believes, and on that basis alleges that it has complied
with all applicable state and federal laws, statutes and regulations, and therefore cannot be held
liable for any alleged damages suffered by Plaintiff.

THIRD AFFIRMATIVE DEFENSE
(Acts of Third Parties)

3. Without waiver of any of the denials contained herein, Capital One asserts that, if
Plaintiff sustained any damages, which Capital One denies, such damages were proximately
caused by the acts or omissions of other persons, firms, or corporations.

FOURTH AFFIRMATIVE DEFENSE
(Plaintiff’s Own Conduct)

4. Damages or injuries, if any, suffered by Plaintiff are attributable to Plaintiff's own

conduct, deeds, acts, words and omissions, and not to any conduct, deeds, acts, words or omissions

of Capital One.
FIFTH AFFIRMATIVE DEFENSE
(Failure to Mitigate)
5. Plaintiff has failed to mitigate his damages, if any.
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SIXTH AFFIRMATIVE DEFENSE
(No Attorneys’ Fees)

6. Plaintiff is entitled to no attorneys’ fees.

SEVENTH AFFIRMATIVE DEFENSE

(Excuse, Waiver and Discharge)

7. Capital One alleges that it has performed all conditions, covenants, and obligations
imposed upon him as to Plaintiff, if any, with the exception of those conditions, covenants and
obligations which have been excused, waived or discharged by Plaintiff's conduct.

EIGHTH AFFIRMATIVE DEFENSE
(Prior Breach)

8. Plaintiff is barred from any legal or equitable relief under each of the purported

causes of action in the Petition, by virtue of his prior breach of the alleged agreements, if any.

NINTH AFFIRMATIVE DEFENSE
(Offset)

9. Plaintiff is barred from any legal or equitable relief under each of the purported
causes of action in the Petition, to the extent Capital One has offsetting claim(s).

TENTH AFFIRMATIVE DEFENSE
(Consent)

10. The Petition is barred by Plaintiff's consent.

ELEVENTH AFFIRMATIVE DEFENSE
(Good Faith and Fair Dealing)

11. Plaintiff breached his covenant of good faith and fair dealing. To the extent any
liability is held against Capital One, Capital One is entitled to a set-off against such liability by the

damages to Capital One caused by said conduct.
Case 3:24-cv-03010-N-BT Documenti-1 Filed 12/02/24 Page 75of92 PagelD 79

TWELFTH AFFIRMATIVE DEFENSE
(Unclean Hands)

12. Plaintiff is barred from obtaining any recovery on the allegations in the Petition by
the doctrine of unclean hands.

THIRTEENTH AFFIRMATIVE DEFENSE
(Justifiable Conduct)

13. Capital One’s alleged conduct, if any, was justified under the circumstances.

FOURTEENTH AFFIRMATIVE DEFENSE
(Good Faith)

14. Capital One alleges that all of its acts and/or omissions, if any, including any oral
or written statements made by it, if any, were true statements of fact or honest expressions of
opinion, made in good faith and without malice.

FIFTEENTH AFFIRMATIVE DEFENSE
(Ratification)

(5. The Petition is barred by the conduct, actions, and inactions of Plaintiff under the
doctrine of ratification.

SIXTHTEENTH AFFIRMATIVE DEFENSE
(Estoppel & Waiver)

16. Plaintiff's claims are barred, in whole or in part, by the conduct, actions, and
inactions of Plaintiff, which amount to and constitute a waiver of any right or rights Plaintiff may

or might have in relation to the matters alleged in the Petition.

SEVENTEETH AFFIRMATIVE DEFENSE

(No Damages)

17. The Petition is barred, in whole or in part, because Plaintiff suffered no injury as a

result of any act of Capital One, if any.
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EIGHTEENTH AFFIRMATIVE DEFENSE
(Contribution)

18. Although Capital One denies that Plaintiff has suffered any damages, to the extent
that damages have been suffered, independent third parties or their agents owe contribution for
any damages alleged to have been suffered by Plaintiff.

NINTEENTH AFFIRMATIVE DEFENSE
(Not Knowing/Willful/Intentional)

19, The Petition is barred, in whole or in part, on the grounds that Capital One’s
conduct, if any, was not knowing, willful, or intentional.

TWENTIETH AFFIRMATIVE DEFENSE
(No Duty/No Breach)

20. Capital One alleges that it breached no duty and/or obligation arguably owed to

Plaintiff, if any, under applicable law.

TWENTY-FIRST AFFIRMATIVE DEFENSE

(Performance)

21. Plaintiff is barred from recovery because Capital One sufficiently performed any
and all duties and obligations it owed to Plaintiff, if any.

TWENTY-SECOND AFFIRMATIVE DEFENSE
(Lack of Standing)

22. The Petition is barred because Plaintiff lacks standing to bring or maintain the
claims set forth in the Petition.

TWENTY-THIRD AFFIRMATIVE DEFENSE
(Reservation of Rights)

23. Capital One alleges that it may have additional defenses or claims available to it of

which it is not now aware. Capital One reserves the right to assert additional defenses or cross-
Case 3:24-cv-03010-N-BT Documenti1-1 Filed 12/02/24 Page 7/7of92 PagelD 81

claims, counterclaims, or third-party claims as may be revealed to be appropriate through

discovery or otherwise.

TWENTY-FOURTH AFFIRMATIVE DEFENSE
(Res Judicata)

24. Capital One alleges that the Petition, including each purported cause of action and

each claim for relief contained therein, is barred by the doctrine of res judicata.

WHEREFORE, Defendant Capital One respectfully requests that upon final disposition of
this case that the Plaintiff takes nothing by reason of his allegations against Capital One and that
the Court grant Capital One such other and further relief, at law or in equity, as may be necessary

and appropriate under the circumstances.

Dated: November 22, 2024 Respectfully submitted,

By: ___s/David Herrold

David H. Herrold

Texas State Bar No. 24107029
BURKE BOGDANOWICZ PLLC
1201 Elm Street, Suite 4000
Dallas, Texas 75270

Tel. (214) 473-5985

E-mail: dherrold@burkebog.com

Attorney for the Defendant,

Capital One, N.A. (erroneously sued as “Capital
One Financial Corporation 878185453,”
“Capital One, National Association 006947543,”
and “Capital One Services, LLC 837630326”)
Case 3:24-cv-03010-N-BT Documenti1-1 Filed 12/02/24 Page 78o0f92 PagelD 82

CERTIFICATE OF SERVICE

The undersigned hereby certifies that he caused a true and correct copy of the foregoing
instrument to be filed with this Court through e-File and served a copy on the pro se Plaintiff by
depositing the same into the U.S. Mails, all postage prepaid, addressed to:

“Robert Allen Bautista/Attorney-in Fact”

P.O. Box 131385
Dallas, Texas 75313-1385

s/David Herrold

Case 3:24-cv-03010-N-BT Documenti-1 Filed 12/02/24 Page 79 of 92
Automated Certificate of eService
This automated certificate of service was created by the efiling system.
The filer served this document via email generated by the efiling system
on the date and to the persons listed below. The rules governing
certificates of service have not changed. Filers must still provide a
certificate of service that complies with all applicable rules.

Melinda Goens on behalf of David Herrold

Bar No. 24107029

mgoens@burkebog.com

Envelope ID: 94620965

Filing Code Description: Original Answer - General Denial
Filing Description: DEFENDANT CAPITAL ONE, N.A.'S
Status as of 11/25/2024 9:49 AM CST

Associated Case Party: ROBERTALLENBAUTISTA

PagelD 83

Name BarNumber | Email TimestampSubmitted

Status

ROBERT ALLENBAUTISTA RBRTBTST16@GMAIL.COM | 11/22/2024 1:53:29 PM

SENT

Case Contacts

Name BarNumber | Email TimestampSubmitted | Status
Vikki Colvin-Gray vcolvin@burkebog.com | 11/22/2024 1:53:29 PM | SENT
Melinda Goens mgoens@burkebog.com | 11/22/2024 1:53:29 PM | SENT
Vivian Herrera vherrera@burkebog.com | 11/22/2024 1:53:29 PM | SENT
David H.Herrold dherrold@burkebog.com | 11/22/2024 1:53:29 PM | SENT
J. CollinSpring jspring@burkebog.com 11/22/2024 1:53:29 PM | SENT
Bailey Willett bwillett@burkebog.com | 11/22/2024 1:53:29 PM | SENT

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Exhibit 1-N
Case 3:24-cv-03010-N-BT Documenti-1 Filed 12/02/24 Page 81lof92 PagelD 85

IN THE DISTRICT COURT OF DALLAS COUNTY, TEXAS

CAUSE NO. DC-24-18868

ROBERT ALLEN BAUTISTA®,

Plaintiff,

V.

CAPITAL ONE FINANCIAL CORPORATION 878185453;
CAPITAL ONE, NATIONAL ASSOCIATION 006947543;
CAPITAL ONE SERVICES, LLC 837630326

Defendants.

160th DISTRICT COURT
DALLAS COUNTY, TEXAS

PLAINTIFF’S MOTION TO COMPEL DISCOVERY
TO THE HONORABLE JUDGE OF SAID COURT:

COMES NOW, ROBERT ALLEN BAUTISTA (hereinafter "Plaintiff'), and respectfully files this Motion
to Compel Discovery against Capital One Financial Corporation, Capital One, National Association, and
Capital One Services, LLC (hereinafter "Defendants") pursuant to Rule 176 of the Texas Rules of Civil
Procedure. In support of this motion, Plaintiff respectfully shows the Court as follows:

I. INTRODUCTION

Plaintiff has diligently attempted to obtain critical discovery documents from Defendants, but despite the
time that has passed, Defendants have failed to provide the requested documentation or have provided
inadequate or incomplete responses. In particular, Plaintiff has requested GAAP (Generally Accepted
Accounting Principles) financial statements, detailed account information, files related to Plaintiff's
principal, ROBERT ALLEN BAUTISTA®, original security collateral for any accounts opened in the
name of the principal, and any and all contracts related to the opening and maintenance of those accounts.
These documents are critical to Plaintiff's claims regarding unlawful and discriminatory practices,
fraudulent transactions, and violations of financial and consumer protection laws.

Due to the slow or inadequate responses to discovery requests, Plaintiff is now compelled to seek the
Court’s intervention to enforce the production of these essential documents. The requested discovery is
vital to substantiate Plaintiff's claims and to move this case forward.

Il. BACKGROUND

1. On 09/20/2024, Plaintiff served Defendants with a series of Requests for Production of
Documents, including requests for:

o GAAP-compliant financial statements related to Plaintiff's accounts and those of his
principal, ROBERT ALLEN BAUTISTA®.

o Complete account information for all accounts held in Plaintiff's name or associated with
Plaintiff or his principal.

o All files and documents related to ROBERT ALLEN BAUTISTA®, the principal.

o The original security collateral for the opening of any accounts in the name of Robert
Allen Bautista.
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2.

o Any and all contracts related to the opening, maintenance, and management of these
accounts.

Despite the passage of time and Plaintiff’s efforts to communicate with Defendants informally, as
of the date of this motion, Defendants have failed to provide adequate responses or any
documents responsive to the requests. In some instances, Defendants have provided vague or
incomplete responses, with essential documents still not being produced.

Plaintiff has made multiple inquiries about the status of these requests and has given Defendants
additional time to comply. However, Defendants’ delay in responding is unjustifiable and impedes
Plaintiff's ability to prepare for trial.

Ill. ARGUMENT AND AUTHORITIES

A. Defendants Are Required to Provide Full and Complete Responses

Under the Texas Rules of Civil Procedure, parties are obligated to produce documents that are within their
possession, custody, or control in response to discovery requests. Specifically, Rule 192.3(a) of the Texas
Rules mandates that a party must provide all documents responsive to discovery requests within the
prescribed time limits.

The requested documents—GAAP-compliant financial statements, account information, files related to
ROBERT ALLEN BAUTISTA®, the original security collateral, and contracts related to the accounts—
are all critical to Plaintiff’s claims. Defendants' failure to provide these documents is in violation of their
discovery obligations, and Plaintiff is now forced to seek the Court’s intervention.

B. The Court Has the Authority to Compel Discovery

Pursuant to Rule 215.1(b) of the Texas Rules of Civil Procedure, the Court has the authority to compel a
party to provide discovery if that party fails to comply with the applicable discovery rules. In this case,
Defendants have failed to meet their obligations, and Plaintiff has made good-faith efforts to resolve the
matter without judicial intervention.

Accordingly, Plaintiff respectfully requests that the Court issue an order compelling Defendants to
produce the following documents:

i.

GAAP-compliant financial statements for any accounts held in Plaintiff's name or associated with
his principal, ROBERT ALLEN BAUTISTA®.

Complete account information, including balances, fees, charges, interest rates, and transaction
histories for all accounts associated with Plaintiff or his principal.

All files and documents related to ROBERT ALLEN BAUTISTA®,, including any records or
communications that pertain to accounts opened or maintained by Plaintiff or his principal.

The original security collateral for any accounts opened in the name of ROBERT ALLEN
BAUTISTA®.

Any and all contracts associated with the opening, maintenance, and management of any accounts
associated with Plaintiff or his principal.

C. The Discovery Is Critical for Plaintiff's Case
Case 3:24-cv-03010-N-BT Documenti-1 Filed 12/02/24 Page 83o0f92 PagelD 87

The requested documents are essential to Plaintiff's case, as they will provide evidence of the unlawful
and discriminatory practices that Defendants are alleged to have engaged in. These documents are
necessary to substantiate Plaintiff’s claims for financial harm, inflated fees, and violations under various
laws, including the Fair Credit Reporting Act (FCRA), Equal Credit Opportunity Act (ECOA), Fair and
Accurate Credit Transactions Act (FACTA), Texas Fair Lending Act, Texas Securities Act, and the Texas
Deceptive Trade Practices Act (DTPA).

Plaintiff is entitled to these documents in order to support his claims for actual, statutory, and punitive
damages, and to move forward with discovery and trial preparations.

IV. PRAYER
WHEREFORE, PREMISES CONSIDERED, Plaintiff respectfully requests that the Court:

1. Compel Defendants to produce the requested documents, including but not limited to GAAP-
compliant financial statements, account information, files related to Robert Allen Bautista, the
original security collateral for the opening of any accounts held in the name of the principal, and
any and all contracts related to the opening, maintenance, and management of those accounts.

2. Award Plaintiff any additional relief the Court deems appropriate, including costs associated with
this motion and reasonable attorney's fees as permitted by law.

3. Grant such other and further relief to which Plaintiff may be justly entitled.

Respectfully submitted,

/s/ Robert Allen Bautista/ATTORNEY-IN-FACT
ROBERT ALLEN BAUTISTA®

Plaintiff, Pro Se

P.O. Box 131385

Dallas, Texas 75313-1385

Email: RBRTBTST16@gmail.com WITHOUT RECOURSE

WITHOUT PREJUDICE
PAY TO THE ORDER OF

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Certificate of Service

I hereby certify that a true and correct copy of this document was served upon Defendant’s counsel via
EMAIL on 11/25/2024.

/s/ Robert Allen Bautista
Plaintiff, Pro Se

WITHOUT RECOURSE
WITHOUT PREJUDICE
PAY TO THE ORDER OF

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Exhibit 1-O
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IN THE DISTRICT COURT OF DALLAS COUNTY, TEXAS

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CAUSE NO. DC-24-18868 \ a AN
ROBERT ALLEN BAUTISTA®, ee L S

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Plaintiff, CS 2
v. vee
CAPITAL ONE FINANCIAL CORPORATION 878185453; Oe oO
CAPITAL ONE, NATIONAL ASSOCIATION 006947543; “A
CAPITAL ONE SERVICES, LLC 837630326 SE ot
Defendants. % ~
160th DISTRICT COURT ‘&
DALLAS COUNTY, TEXAS

PLAINTIFF’S REPLY TO DEFENDANT CAPITAL ONE, ET AL.'S ANSWER
TO THE HONORABLE JUDGE OF SAID COURT AND ALL PARTIES:

COMES NOW, ROBERT ALLEN BAUTISTA® (hereinafter "Plaintiff'), and respectfully submits this
Reply to Defendant Capital One, N.A.’s Answer to Plaintiff's Petition for Fair Access to Financial
Services, Securities Fraud, and Misrepresentation and shows the Court as follows:

I. RESPONSE TO GENERAL DENIAL

1. Plaintiff denies Defendant’s general denial of the allegations in the Petition. Plaintiff asserts
that the claims contained in the Petition are well-founded and adequately plead violations of both
federal and state laws, including but not limited to the Equal Credit Opportunity Act
(ECOA), the Fair Credit Reporting Act (FCRA), the Fair and Accurate Credit Transactions
Act (FACTA), the Texas Fair Lending Act, the Texas Securities Act, and the Texas Deceptive
Trade Practices Act (DTPA). These claims have sufficient legal and factual support and should
proceed to trial for full adjudication.

II. RESPONSE TO AFFIRMATIVE DEFENSES
First Affirmative Defense (Failure to State a Claim)

2. Plaintiff maintains that the Petition adequately states claims upon which relief can be
granted. The factual allegations detailed in the Petition clearly support violations of consumer
protection statutes and lending regulations. Plaintiff alleges that Defendant Capital One’s actions
have caused harm through discriminatory lending practices, incorrect credit reporting, and
deceptive practices, which are actionable under the ECOA, FCRA, FACTA, Texas Fair
Lending Act, and DTPA. Plaintiff has stated a claim for each cause of action, and Defendant’s
affirmative defense of failure to state a claim is without merit.

Second Affirmative Defense (Compliance with Laws, Statutes, and Regulations)

3. Plaintiff disputes Defendant’s assertion that it has complied with applicable laws and
regulations. The actions described in the Petition demonstrate multiple violations of consumer
protection laws. Specifically, Capital One has violated the ECOA, FCRA, and FACTA by
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failing to provide clear and accurate reasons for loan denials, improperly reporting Plaintiff's
credit history, and engaging in discriminatory and unfair lending practices. Plaintiff asserts that
Defendant’s conduct was in direct violation of the laws it claims to have complied with.

Third Affirmative Defense (Acts of Third Parties)

4. Plaintiff denies that any damages were caused by third parties or other persons unrelated to
Defendant’s conduct. Plaintiff has sufficiently demonstrated that the damages sustained were the
result of Defendant’s actions, including discriminatory lending practices, inaccurate credit
reporting, and failure to comply with relevant financial regulations. Therefore, Plaintiff asserts
that Defendant is solely responsible for the harm alleged in the Petition.

Fourth Affirmative Defense (Plaintiff’s Own Conduct)

5. Plaintiff denies that his own conduct caused any damages. Plaintiff has at all times acted
within his rights as a consumer and as a borrower. The harm suffered was caused by Defendant’s
illegal conduct, not by Plaintiff's actions. Plaintiff asserts that the denial of credit and the
erroneous reporting of Plaintiff's credit history were the result of Defendant’s wrongful acts.

Fifth Affirmative Defense (Failure to Mitigate)

6. Plaintiff denies that he failed to mitigate damages. Plaintiff took appropriate and reasonable
steps to remedy the harm caused by Defendant’s actions. Defendant's wrongful actions, including
the improper denial of credit and inaccurate credit reporting, directly caused Plaintiff's damages,
and there was no further action that Plaintiff could have taken to mitigate these damages.

Sixth Affirmative Defense (No Attorneys’ Fees)

7. Plaintiff maintains that he is entitled to attorneys' fees, as provided for under applicable
consumer protection statutes, including the Texas Deceptive Trade Practices Act (DTPA) and
Fair Credit Reporting Act (FCRA), which provide for the recovery of attorney’s fees in
successful actions. Plaintiff is entitled to recover reasonable attorney’s fees if he prevails on his
claims.

Seventh Affirmative Defense (Excuse, Waiver, and Discharge)

8. Plaintiff denies that any waiver, discharge, or excuse applies to his claims. There is no valid
defense based on waiver, discharge, or Plaintiffs conduct that would bar his claims for relief.

Eighth Affirmative Defense (Prior Breach)

9. Plaintiff denies any prior breach of agreements. Defendant’s affirmative defense of prior
breach is unsupported by any facts in the record and does not absolve Capital One of its
responsibility for unlawful conduct, including discriminatory practices, inaccurate reporting, and
failure to comply with the Fair Lending Act and other applicable statutes.

Ninth Affirmative Defense (Offset)

10. Plaintiff denies that any offsetting claims exist that would reduce Defendant’s liability.
Plaintiff's claims are based on Defendant’s wrongful actions, and there are no valid offsets to
Plaintiff's recovery.

Tenth Affirmative Defense (Consent)
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11. Plaintiff denies that his claims are barred by consent. Plaintiff did not consent to the
discriminatory practices, unfair lending terms, or improper credit reporting practices described in
the Petition. Therefore, this affirmative defense is not applicable.

Eleventh Affirmative Defense (Good Faith and Fair Dealing)

12. Plaintiff denies that he breached any covenant of good faith and fair dealing. Defendant’s
conduct, including failing to comply with applicable laws and engaging in discriminatory lending
practices, was contrary to the duty of good faith and fair dealing.

Twelfth Affirmative Defense (Unclean Hands)

13. Plaintiff denies that the doctrine of unclean hands applies to his claims. Defendant's wrongful
actions, including discriminatory lending and improper credit reporting, have caused harm to
Plaintiff, and Plaintiff is entitled to seek redress for these unlawful actions.

Thirteenth Affirmative Defense (Justifiable Conduct)

14. Plaintiff denies that Defendant’s actions were justified under the circumstances. The actions
alleged in the Petition—discriminatory practices, failure to report credit accurately, and non-
compliance with applicable consumer protection laws—are not justifiable.

Fourteenth Affirmative Defense (Good Faith)

15. Plaintiff asserts that Defendant’s conduct was willful and knowing, particularly in light of the
repeated violations of consumer protection laws and the negative impact on Plaintiff's financial
well-being.

Fifteenth Affirmative Defense (Ratification)

16. Plaintiff denies that his actions ratified Defendant’s wrongful conduct. There is no basis for
the application of the doctrine of ratification. Plaintiff did not ratify any conduct that violated his
rights.

Sixteenth Affirmative Defense (Waiver)

17. Plaintiff denies any waiver of rights. Plaintiff's nghts to fair access to financial services, non-
discriminatory treatment, and accurate credit reporting remain intact, and there has been no
waiver of these rights.

Seventeenth Affirmative Defense (No Damages)

18. Plaintiff asserts that he has suffered actual and significant damages as a result of Defendant’s
conduct. The damages include economic loss, harm to his creditworthiness, and emotional
distress.

Eighteenth Affirmative Defense (Contribution)

19. Plaintiff denies that any third parties are responsible for damages. The actions alleged in the
Petition were caused directly by Defendant’s conduct.

Nineteenth Affirmative Defense (Not Knowing/Willful)
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20. Plaintiff asserts that Defendant’s conduct was willful and knowing, particularly in light of the
repeated violations of consumer protection laws and the negative impact on Plaintiff's financial
well-being.

Twentieth Affirmative Defense (No Duty/Breach)

21. Plaintiff asserts that Defendant owed a duty to comply with applicable laws and failed to
meet these obligations, including under the ECOA, FCRA, and FACTA. Defendant is in breach
of this duty.

Twenty-First Affirmative Defense (Performance)

22. Plaintiff denies that Capital One sufficiently performed any duties owed to Plaintiff.
Defendant’s failure to comply with the relevant consumer protection laws constitutes a breach of
its obligations.

Twenty-Second Affirmative Defense (Lack of Standing)

23. Plaintiff asserts that he has standing to bring this action. As a PRINCIPAL ON THE
ACCOUNT, consumer and borrower, Plaintiff is directly affected by Defendant’s actions and has
the legal standing to seek redress.

Twenty-Third Affirmative Defense (Reservation of Rights)

24. Plaintiff reserves the right to amend and supplement his claims as additional information is
uncovered during discovery.

Twenty-Fourth Affirmative Defense (Res Judicata)

25. Plaintiff denies that res judicata applies to this case. There is no prior judgment that bars the
claims raised in the Petition.

Ill. RESPONSE TO SPECIFIC RELIEF SOUGHT
a. Zeroing of Account Balances

Plaintiff requests that all account balances for accounts held in Plaintiff's name be immediately zeroed out
due to the unlawful and discriminatory treatment Defendants have inflicted. This includes any accounts
opened by or associated with Plaintiff or his principal, wherein Defendants' actions have unlawfully
caused financial harm through inflated fees, charges, or interest rates.

b. Damages
Plaintiff is entitled to the following types of damages:
¢ FCRA Damages:

o Actual damages for financial losses and emotional distress caused by Defendants”
inaccurate credit reporting practices.

o Statutory damages of $1,000 for each violation of the FCRA.
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Punitive damages, to be determined by the Court, but no greater than $100,000 for willful
violations of the FCRA.

e FACTA Damages:

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Statutory damages of up to $1,000 per violation.

Punitive damages for willful violations, as determined by the Court.

e ECOA Damages:

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Actual damages for harm caused by discriminatory practices, including harm to
Plaintiff's ability to obtain credit.

Statutory damages of up to $10,000.

Punitive damages for willful discrimination, to be determined by the Court, in an amount
up to $100,000.

e Texas Fair Lending Act Damages:

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Actual damages caused by Defendants’ violations of Texas fair lending laws.

Statutory damages as determined by the Court.

e Texas Securities Act and Securities Exchange Act Damages:

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°o

Actual damages for financial loss as a result of fraudulent or misleading securities
transactions.

Treble damages under the Texas Securities Act.

e DTPA Damages:

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Actual damages for harm caused by deceptive practices.
Statutory damages up to three times the actual damages (treble damages).

Punitive damages, as determined by the Court.

c. Attorney’s Fees and Court Costs

Plaintiff seeks reasonable attorney's fees and court costs, amounting to $1,000, for the prosecution of this
action, as permitted under applicable statutes.

d. Cease and Desist from Fees

Plaintiff further requests that Defendants cease and desist from assessing any fees on Plaintiff’s accounts,
including but not limited to late fees, annual fees, or any other charges that were wrongfully assessed.
Defendants are also ordered to refund any fees previously assessed to Plaintiff’s accounts.

e. Order to Compel Discovery

Plaintiff respectfully requests the Court to issue an order compelling Defendant Capital One, N.A. to
provide complete and accurate responses to Plaintiff's discovery requests within the statutory time frame.
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IV. PRAYER
WHEREFORE, Plaintiff respectfully requests that the Court:
1. Deny all affirmative defenses raised by Defendant Capital One, N.A.

2. Order Defendant to respond to Plaintiff's Petition for Fair Access to Financial Services, Securities
Fraud, and Misrepresentation.

Ww

Award Plaintiff actual damages, consequential damages, attorney’s fees, and all other appropriate
relief, as well as any other relief that Plaintiff may be entitled to under the law.

4. Zero out all account balances for accounts held in Plaintiff's name as requested above.

5. Grant Plaintiff the requested damages for violations under the FCRA, FACTA, ECOA, Texas
Fair Lending Act, Texas Securities Act, and DTPA as outlined.

6. Grant the order to compel Defendant to respond to discovery requests.
7. Grant such other and further relief as the Court deems just and proper.

Respectfully submitted,

/s/ Robert Allen Bautista/ATTORNEY-IN-FACT
ROBERT ALLEN BAUTISTA®

Plaintiff, Pro Se

P.O. Box 131385

Dallas, Texas 75313-1385

Email: RBRTBTST16@gmail.com

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Robert Allen Bautista/attorney-in-fact

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Certificate of Service

I hereby certify that a true and correct copy of this document was served upon Defendant’s counsel via
EMAIL on 11/25/2024.

/s/ Robert Allen Bautista
Plaintiff, Pro Se

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Robert Allen Bautis:.: ..; torney-in-fact

